            Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 1 of 149



 1 STEVEN L. FRIEDLANDER (SBN 154146)
   CARL J. KAPLAN (SBN 323019)
 2 SV EMPLOYMENT LAW FIRM PC
   160 Bovet Road, Suite 401
 3 San Mateo, California 94402
   Telephone:   (650) 265-0222
 4 Facsimile:   (650) 265-0223
   Email:       sfriedlander@svelf.com
 5              ckaplan@svelf.com
 6 Attorneys for Plaintiff TRUSTLABS, INC.

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10

11 TRUSTLABS, INC, a Delaware                           Case No. 3:21-cv-02606-CRB
   Corporation,
12                                                      PLAINTIFF’S STATEMENT ON DISCOVERY
                    Plaintiff,                          DISPUTE
13
                    v.                                  Complaint Filed:     April 9, 2021
14                                                      Judge:               Hon. Charles R. Breyer
                                                                             Hon. Thomas S. Hixson
15 DANIEL JAIYONG AN, an individual

16                        Defendant.

17

18         The undersigned attests that he has diligently attempted to meet and confer in good faith to attempt

19 to resolve the discovery dispute discussed herein.

20
                                                         By:   /s/ Carl J. Kaplan
21 Dated: March 22, 2023                                                     Carl J. Kaplan
22

23

24

25

26

27

28



     PLAINTIFF’S STATEMENT ON DISCOVERY DISPUTE                                   CASE NO. 3:21-cv-02606-CRB
              Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 2 of 149



 1           Plaintiff TrustLabs, Inc. (“Plaintiff”) hereby submits this statement pursuant to the Court’s March

 2 15, 2023 Discovery Order. Dkt. No. 59.

 3           This discovery dispute concerns amended discovery responses that defendant Daniel Jaiyong An

 4 (“Defendant”), served through his prior counsel, Jason Takenouchi of Kasowitz Benson Torres LLP, on

 5 March , 2022, and which plaintiff TrustLabs, Inc. (“Plaintiff”) contends are woefully deficient. 1

 6           On May 12, 2022, Defendant served amended responses and objections to Plaintiff’s Requests for

 7 Production, Set One, Interrogatories, Set One, and Requests for Admission, Set One. Plaintiff’s amended

 8 responses to the aforementioned discovery are filed concurrently herewith as Exhibits A, B, and C,

 9 respectively. On June 3, 2022, Defendant made his first—and, to date, only—production of documents.

10 Plaintiff thereafter resumed meet and confer efforts with Mr. Takenouchi. On June 24, 2022, the parties

11 conducted a telephonic conference, which was summarized in an email sent by Plaintiff’s counsel on July

12 6, 2022. This email is filed concurrently herewith as Exhibit D. Although Plaintiff attempted to continue

13 to meet and confer with Defendant’s counsel, before any resolution could be reached, Kasowitz Benson

14 Torres LLP withdrew as Defendant’s counsel. Dkt. No. 50. Plaintiff’s subsequent attempts to meet and

15 confer with Defendant have proven fruitless.

16 I.        PLAINTIFF’S POSITION

17           A.       Defendant’s Evasive Meet and Confer Responses are Delaying Discovery

18           Following Mr. Takenouchi’s withdrawal as counsel for Defendant, Plaintiff’s counsel sought to

19 resume the meet and confer process directly with Defendant, and on December 5, 2022, sent Defendant a

20 letter addressing the outstanding issues with Defendant’s discovery responses.                         This letter is filed

21 concurrently herewith as Exhibit E.                 The parties thereafter exchanged several rounds of email

22 correspondence in a further meet and confer effort. Collectively, the parties email communications are

23 filed concurrently herewith as Exhibit F.

24           Unfortunately, the meet and confer process was significantly hampered by Defendant’s professed

25 confusion over commonly used words and phrases, and by Defendant’s practice of taking inconsistent

26 positions—for instance by first indicating that he would be invoking the protections of the Fifth

27
     1
28    This in turn followed extensive meet and confer with Plaintiff’s initial counsel, Alexander Gura of Novian & Novian. Mr.
     Gura filed a March 9, 2022 motion to withdraw (Dkt. No. 34), which the Court granted on March 31, 2022. Dkt. No. 40.

                                                                  1
     JOINT STATEMENT ON DISCOVERY DISPUTE                                                      CASE NO. 3:21-cv-02606-CRB
             Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 3 of 149



 1 Amendment to the United States Constitution, and then disavowing that representation when Plaintiff

 2 sought to confirm his invocation of the Fifth Amendment. Ultimately, Defendant refused to confirm

 3 whether he would agree to supplement his responses as requested by Plaintiff, and further refused to

 4 participate in a telephonic meet and confer session to discuss the issues animating this discovery dispute.

 5 Given Defendant’s evasive written communications and refusal to engage in a telephonic meet and confer,

 6 and in view of the pending close of fact discovery, Plaintiff has no choice but to seek Court intervention.

 7          B.     The Discovery At Issue

 8          This discovery dispute pertains to a limited number of discovery responses—eight in total—with

 9 respect to which Defendant has either (i) attempted to unilaterally limit the scope of his response, (ii)

10 wholly refused to respond, or (iii) agreed to search for and produce documents, but has neither produced

11 responsive documents nor confirmed none exists in his possession, custody, or control.

12          Request for Production Nos. 3 and 7: Plaintiff alleges that, following the termination of

13 Defendant’s employment, Defendant attempted to access certain of Plaintiff’s online accounts. Dkt. No.

14 1 at ¶ 23. Accordingly, Plaintiff served Request for Production (“RFP”) No. 3, asking for documents

15 sufficient to indicate each time that Defendant attempted to access Plaintiff’s accounts during the time

16 period of July 6, 2020 through September 1, 2020. In his amended response, Defendant agreed to “perform

17 a reasonable search and produce any responsive, non-privileged documents, if any exist.” Exhibit A at 5.

18          Plaintiff understands that, following his termination, Defendant contacted certain other entities and

19 individuals—including investors in Plaintiff—and represented that he was still Plaintiff’s Chief Executive

20 Officer. Accordingly, Plaintiff propounded (i) RFP No. 7, asking for all documents and communications

21 in which Defendant held himself out to be or represented that he was affiliated with Plaintiff on or after

22 the date of his termination (July 6, 2020). As with RFP No. 3, Defendant agreed, in his amended response,

23 to “perform a reasonable search and produce any responsive, non-privileged documents, if any exist.”

24          To date, Defendant has neither produced documents relevant to RFP Nos. 3 or 7, nor has he

25 provided Plaintiff with an indication of his inability to comply therewith. Plaintiff requests that the Court

26 compel Plaintiff to produce all responsive, non-privileged documents in his possession, custody, or control,

27 or to affirmatively state, in a verified response, that no such documents exist.

28          Interrogatory No. 2: This interrogatory asks Plaintiff to list each communication in which he held


                                                         2
     JOINT STATEMENT ON DISCOVERY DISPUTE                                             CASE NO. 3:21-cv-02606-CRB
            Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 4 of 149



 1 himself out to be or represented that he was affiliated with Plaintiff on or after July 6, 2020. In his amended

 2 response to Interrogatory No. 2, Defendant attempted to unilaterally limit the definition of “affiliated with”

 3 to mean “employed by,” and on the basis of that purported scope limitation, represented that he had “no

 4 communications to disclose.” Exhibit B at 4.

 5          At the parties’ June 24, 2022 teleconference, Plaintiff’s counsel explained that Plaintiff sought all

 6 communications by Defendant with any third party, wherein Defendant discussed Plaintiff’s business or

 7 attempted to negotiate on its behalf Exhibit D. During the parties subsequent meet and confer, Plaintiff’s

 8 counsel explained to Defendant that he should understand the term “affiliated” according to its ordinary

 9 meaning—“i.e., ‘a attached, associated, or connected with a person, entity, or organization.’” Exhibit F.

10 Despite these clarifications, Defendant has failed to supplement his response.

11          Requests for Admissions Nos. 4 - 6: Plaintiff’s Requests for Admission (“RFAs”) Nos. 4 and 6 ask

12 Defendant to admit that (i) he was not authorized to delete Plaintiff’s slack account on July 6, 2020 (RFA

13 4); and (ii) he was not authorized to access any accounts belonging to Defendant following his termination

14 on July 6, 2020. In response to both RFAs Nos. 4 and 6, Defendant professed confusion regarding the

15 word “authorized.” Further, with respect to RFA Nos. 5 and 6, Defendant attempted to limit the scope of

16 the request to pertain to “events after July 7, 2020”—despite the fact that the plain language of RFAs Nos.

17 5 and 6 establish the timeframe to begin on July 6, 2020. Exhibit C at 4-5.

18          In subsequent meet and confer correspondence, Plaintiff has explained to Defendant that he should

19 understand “authorized” according to its ordinary meaning—i.e., to mean “given official permission for or

20 approval.” Exhibit F. Plaintiff also corrected Defendant’s attempt, in RFAs Nos. 5 and 6, to limit his

21 response to the period following July 7, 2020, pointing out that the requests cover the period beginning

22 July 6, 2020. Exhibit D. Despite these clarifications, Plaintiff has refused to amend his responses.

23          Interrogatories Nos. 6 and 7: Plaintiff has also sought further responses to its Interrogatories Nos.

24 6 and 7. Interrogatory No. 6 asks Defendant to, for all of his RFA response that are not unqualified

25 admissions, (i) state the factual bases for his response; (ii) identify all persons with knowledge of those

26 facts; and (iii) describe all documents and tangible things that support Defendant’s response. Interrogatory

27 No. 7 similarly asked Defendant for the factual bases, witnesses, and documentary support for each of his

28 denials of a material allegation and each special or affirmative defense in his pleadings. Defendant

                                                          3
     JOINT STATEMENT ON DISCOVERY DISPUTE                                           CASE NO. 3:21-cv-02606-CRB
             Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 5 of 149



 1 provided a limited response to Interrogatory No. 6, and no substantive response to Interrogatory No. 7, on

 2 the basis that both Interrogatories constituted compound requests.            At the parties’ June 24, 2022

 3 teleconference, Defendant, through prior counsel, agreed to provide supplemental responses, provided the

 4 parties agree that each subpart of Interrogatories 6 and 7 constitute a separate interrogatory.

 5          Accordingly, in Plaintiff’s subsequent meet and confer efforts with Defendant, Plaintiff proposed

 6 that the parties agree that, with respect to Interrogatory No. 6, it would be deemed a separate Interrogatory

 7 with respect to each of Defendant’s responses to each of Plaintiff’s RFAs. Plaintiff similarly proposed that

 8 Interrogatory No. 7 be considered a separate interrogatory with respect to each of Plaintiff’s special or

 9 affirmative defenses. However, despite these proposed compromises, Defendant has not agreed to

10 supplement his responses to either Interrogatory.

11 II.      DEFENDANT FAILED TO PROVIDE A POSITION

12          Counsel for Plaintiff repeatedly asked Defendant to provide an insert with his position on this

13 discovery dispute. For example, on Friday, March 17, 2023, counsel for Plaintiff informed Defendant that

14 “[w]e will provide our portion of the brief by early next week, with a placeholder for your portion. Please

15 make sure to return the letter brief with your portion inserted in by no later than 4pm Pacific Time on

16 March 22, 2023 so that we can ensure a timely filing.” A copy of these email communications is filed

17 concurrently herewith as Exhibit G. Plaintiff’s counsel provided Defendant with Plaintiff’s portion of the

18 brief at 9:15 a.m. on March 21, 2023, and again requested that Defendant return his portion of the brief by

19 4pm Pacific Time on March 22, 2023. Plaintiff’s counsel advised Defendant that if Plaintiff did not receive

20 Defendant’s portion by that time, Plaintiff would need to file separately. Defendant did not timely provide

21 an insert with this position. As a result, Plaintiff submits this statement solely on Plaintiff’s behalf.

22
                                                          Respectfully Submitted,
23          Dated: March 22, 2023
                                                               /s/ Carl J. Kaplan
24                                                                            Steven L. Friedlander
                                                                                 Carl J. Kaplan
25
                                                                   Attorneys for Plaintiff TRUSTLABS, INC.
26

27

28

                                                           4
     JOINT STATEMENT ON DISCOVERY DISPUTE                                            CASE NO. 3:21-cv-02606-CRB
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 6 of 149




  EXHIBIT A
                             Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 7 of 149



                     1   KASOWITZ BENSON TORRES LLP
                         Jason S. Takenouchi (SBN 234835)
                     2   101 California Street, Suite 3000
                         San Francisco, California 94111
                     3   Telephone:     (415) 421-6140
                         Facsimile:     (415) 398-5030
                     4   JTakenouchi@kasowitz.com

                     5   Attorneys for Defendant
                         DANIEL JAIYONG AN
                     6

                     7

                     8                                   UNITED STATES DISTRICT COURT
                     9                              NORTHERN DISTRICT OF CALIFORNIA
                    10

                    11   TRUSTLABS, INC., a Delaware Corporation,              Case No. 3:21-cv-02606-CRB

                    12                      Plaintiff,                         DEFENDANT’S AMENDED
                                                                               RESPONSES AND OBJECTIONS TO
                    13           v.                                            PLAINTIFF’S REQUESTS FOR
                                                                               PRODUCTION OF DOCUMENTS (SET
                    14   DANIEL JAIYONG AN,                                    ONE)

                    15                      Defendant.                         Dept:       6
                                                                               Judge:      Charles R. Breyer
                    16                                                         Trial Date: TBA
                                                                               Date Action Filed: April 4, 2021
                    17

                    18   PROPOUNDING PARTY:              Plaintiff TRUSTLABS, INC.

                    19   RESPONDING PARTY:               Defendant DANIEL JAIYONG AN

                    20   SET NUMBER:                     One

                    21           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (the “Federal Rules”),

                    22   and the Local Civil Rules for the Northern District of California (the “Local Rules”), defendant

                    23   Daniel Jaiyong An (“Defendant” or “Jaiyong An”) hereby submits his amended responses and

                    24   objections to plaintiff TrustLabs, Inc.’s (“Plaintiff” or “TrustLabs”) First Set of Requests for

                    25   Production of Documents (the “Requests,” and each a “Request”) as follows:

                    26   :

                    27                                    PRELIMINARY STATEMENT

                    28           1.     Defendant’s investigation and development of all facts and circumstances relating
KASOWITZ BENSON
  TORRES LLP                                                                                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                             DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 8 of 149



                     1   to this action is ongoing. These responses and objections are made without prejudice to, and are

                     2   not a waiver of, Defendant’s right to rely on other facts or documents at trial.

                     3            2.     By making the accompanying responses and objections to Plaintiff’s requests and

                     4   interrogatories, Defendant does not waive, and hereby expressly reserves, his right to assert any

                     5   and all objections as to the admissibility of such responses into evidence in this action, or in any

                     6   other proceedings, on any and all grounds including, but not limited to, competency, relevancy,

                     7   materiality, and privilege. Further, Defendant makes the responses and objections herein without

                     8   in any way implying that he considers the requests and interrogatories, and responses to the

                     9   requests and interrogatories, to be relevant or material to the subject matter of this action.

                    10            3.     A response to a request or interrogatory stating and/or indicating that documents

                    11   will be produced shall not be deemed or construed to be a statement that there are, in fact,

                    12   responsive documents, that Defendant performed any of the acts described in the request,

                    13   interrogatory, or definitions and/or instructions applicable to the request or interrogatory, or that

                    14   Defendant acquiesces in the characterization of the conduct or activities contained in the request,

                    15   interrogatory, or definitions and/or instructions applicable to the request or interrogatory.

                    16            4.     Responding Party expressly reserves the right to supplement, clarify, revise, or

                    17   correct any or all of the responses and objections herein, and to assert additional objections or

                    18   privileges, in one or more subsequent supplemental response(s).

                    19                                       GENERAL OBJECTIONS

                    20            These General Objections to Plaintiff’s First Set of Requests for Production of Documents

                    21   are incorporated in each response below as if repeated and stated separately in each response.

                    22            1.     Defendant objects to each instruction, definition, request, and interrogatory to the

                    23   extent that it purports to impose any requirement or discovery obligation greater than or different

                    24   from those under the Federal Rules of Civil Procedure and the applicable Rules and Orders of the

                    25   Court.

                    26            2.     Defendant objects to each request and interrogatory that is overly broad, unduly

                    27   burdensome, or not reasonably calculated to lead to the discovery of admissible evidence.

                    28            3.     Defendant objects to each instruction, definition, request, and interrogatory to the
KASOWITZ BENSON
  TORRES LLP                                                              2                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 9 of 149



                     1   extent that it seeks documents protected from disclosure by the attorney-client privilege, attorney

                     2   work product doctrine, or any other applicable privilege. Should any such disclosure by

                     3   Defendant occur, it is inadvertent and shall not constitute a waiver of any privilege.

                     4          4.      Defendant objects to each instruction, definition, request, and interrogatory as

                     5   overbroad and unduly burdensome to the extent it seeks documents or information that are readily

                     6   or more accessible to Plaintiff from Plaintiff’s own files, or from documents or information in

                     7   Plaintiff’s possession. Responding to such requests and interrogatories would be oppressive,

                     8   unduly burdensome, and unnecessarily expensive, and the burden of responding to such requests

                     9   and interrogatories are substantially the same or less for Plaintiff as for Defendant.

                    10          5.      To the extent any of Plaintiff’s requests or interrogatories seek documents or

                    11   answers that include expert material, including but not limited to survey materials, Defendant

                    12   objects to any such requests and interrogatories as premature and expressly reserves the right to

                    13   supplement, clarify, revise, or correct any or all responses to such requests, and to assert

                    14   additional objections or privileges, in one or more subsequent supplemental response(s) in

                    15   accordance with the time period for exchanging expert reports set by the Court.

                    16          6.      Defendant incorporates by reference every general objection set forth above into

                    17   each specific response set forth below. A specific response may repeat a general objection for

                    18   emphasis or some other reason. The failure to include any general objection in any specific

                    19   response does not waive any general objection to that request. Moreover, Responding Party does

                    20   not waive his right to amend his responses.

                    21                        RESPONSES TO REQUESTS FOR PRODUCTION

                    22   REQUEST FOR PRODUCTION NO. 1:

                    23          All DOCUMENTS and COMMUNICATIONS REFERRING TO PLAINTIFF'S SLACK

                    24   ACCOUNT during the period of September 1, 2019 to September 1, 2020.

                    25   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

                    26          Defendant incorporates his General Objections by reference.

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                              3                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 10 of 149



                     1          Defendant objects to this request as vague and ambiguous due to the use of the phrase

                     2   “during the period.” Defendant will limit his reasonable search, if any, to documents generated

                     3   between September 1, 2019, and September 1, 2020.

                     4          Defendant objects to this request to the extent it seeks the collection of documents that are

                     5   more accessible to Plaintiff than to Defendant.

                     6          Defendant objects to this request to the extent it seeks the production of documents

                     7   protected by the work product doctrine and/or attorney-client privilege, or any other protection or

                     8   privilege from discovery.

                     9          Subject to and without waiver of the objections above, Defendant responds as follows:

                    10   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    11   documents. Defendant reserves the right to supplement or amend this response as discovery

                    12   commences.

                    13   REQUEST FOR PRODUCTION NO. 2:

                    14          All COMMUNICATIONS between YOU and any SLACK employee REFERRING TO

                    15   PLAINTIFF's SLACK ACCOUNT during the period of January 1, 2020 to September 1, 2020.

                    16   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

                    17          Defendant incorporates his General Objections by reference.

                    18          Defendant objects to this request as vague and ambiguous due to the use of the phrase

                    19   “during the period.” Defendant will limit his reasonable search, if any, to documents generated

                    20   between September 1, 2019, and September 1, 2020.

                    21          Defendant objects to this request to the extent it seeks the collection of documents that are

                    22   more accessible to Plaintiff than to Defendant.

                    23          Defendant objects to this request to the extent it seeks the production of documents

                    24   protected by the work product doctrine and/or attorney-client privilege, or any other protection or

                    25   privilege from discovery.

                    26          Subject to and without waiver of the objections above, Defendant responds as follows:

                    27   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    28
KASOWITZ BENSON
  TORRES LLP                                                               4               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 11 of 149



                     1   documents. Defendant reserves the right to supplement or amend this response as discovery

                     2   commences.

                     3   REQUEST FOR PRODUCTION NO. 3:

                     4          DOCUMENTS sufficient to list each time YOU attempted to access any accounts

                     5   belonging to PLAINTIFF (including, without limitation, accounts with REDDIT or HUBSPOT)

                     6   during the period of July 6, 2020 to September 1, 2020.

                     7   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

                     8          Defendant incorporates his General Objections by reference.

                     9          Defendant objects to this request as vague and ambiguous due to the use of the phrase

                    10   “during the period.” Defendant will limit his reasonable search, if any, to documents generated

                    11   between July 6, 2020, and September 1, 2020.

                    12          Defendant objects to this request as vague and ambiguous due to the use of the phrase

                    13   “sufficient to list.” Defendant’s reasonable search, if any, will be limited to documents showing

                    14   “attempt[s] to access” the specified accounts.

                    15          Defendant objects to this request to the extent it seeks the collection of documents that are

                    16   more accessible to Plaintiff than to Defendant.

                    17          Defendant objects to this request to the extent it seeks the production of documents

                    18   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    19   privilege from discovery.

                    20          Subject to and without waiver of the objections above, Defendant responds as follows:

                    21   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    22   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    23   discovery commences.

                    24   REQUEST FOR PRODUCTION NO. 4:

                    25          All DOCUMENTS and COMMUNICATIONS REFERRING TO the termination of

                    26   YOUR positions as PLAINTIFF's CEO and/or President and/or Board Member.

                    27   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

                    28          Defendant incorporates his General Objections by reference.
KASOWITZ BENSON
  TORRES LLP                                                               5                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 12 of 149



                     1           Defendant objects to this request as overbroad to the extent it does not contain a date

                     2   range. Defendant will limit his reasonable search, if any, to documents generated before the

                     3   initiation of this litigation.

                     4           Defendant objects to this request to the extent it seeks the collection of documents that are

                     5   more accessible to Plaintiff than to Defendant.

                     6           Defendant objects to this request to the extent it seeks the production of documents

                     7   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                     8   privilege from discovery.

                     9           Subject to and without waiver of the objections above, Defendant responds as follows:

                    10   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    11   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    12   discovery commences.

                    13   REQUEST FOR PRODUCTION NO. 5:

                    14           All DOCUMENTS and COMMUNICATIONS REFERRING TO the reassignment of

                    15   YOUR duties as PLAINTIFF's CEO, President and/or Board Member.

                    16   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

                    17           Defendant incorporates his General Objections by reference.

                    18           Defendant objects to this request as overbroad to the extent it does not contain a date

                    19   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    20   initiation of this litigation.

                    21           Defendant objects to this request as vague and ambiguous due to the use of the phrase

                    22   “reassignment of YOUR duties.” Defendant’s reasonable search, if any, will be limited to

                    23   documents referencing the full “reassignment” of all od Defendant’s duties.

                    24           Defendant objects to this request to the extent it seeks the collection of documents that are

                    25   more accessible to Plaintiff than to Defendant.

                    26           Defendant objects to this request to the extent it seeks the production of documents

                    27   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    28   privilege from discovery.
KASOWITZ BENSON
  TORRES LLP                                                               6                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 13 of 149



                     1           Subject to and without waiver of the objections above, Defendant responds as follows:

                     2   Defendant will perform a reasonable search and produce any responsive, non-privileged

                     3   documents, if any exist. . Defendant reserves the right to supplement or amend this response as

                     4   discovery commences.

                     5   REQUEST FOR PRODUCTION NO. 6:

                     6           All DOCUMENTS and COMMUNICATIONS REFERRING TO YOUR agreement to

                     7   provide PLAINTIFF with a resignation of employment letter by 4 p.m. Pacific Time on Monday,

                     8   July 6, 2020.

                     9   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

                    10           Defendant incorporates his General Objections by reference.

                    11           Defendant objects to this request as overbroad to the extent it does not contain a date

                    12   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    13   initiation of this litigation.

                    14           Defendant objects to this request to the extent it seeks the collection of documents that are

                    15   more accessible to Plaintiff than to Defendant.

                    16           Defendant objects to this request to the extent it seeks the production of documents

                    17   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    18   privilege from discovery.

                    19           Subject to and without waiver of the objections above, Defendant responds as follows:

                    20   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    21   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    22   discovery commences.

                    23   REQUEST FOR PRODUCTION NO. 7:

                    24           All DOCUMENTS and COMMUNICATIONS in which YOU held yourself out to be or

                    25   represented that you were affiliated with PLAINTIFF on or after July 6, 2020.

                    26   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

                    27           Defendant incorporates his General Objections by reference.

                    28
KASOWITZ BENSON
  TORRES LLP                                                               7                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 14 of 149



                     1           Defendant objects to this request as overbroad to the extent it does not contain a date

                     2   range. Defendant will limit his reasonable search, if any, to documents generated before the

                     3   initiation of this litigation.

                     4           Defendant objects to this request to the extent it seeks the collection of documents that are

                     5   more accessible to Plaintiff than to Defendant.

                     6           Defendant objects to this request to the extent it seeks the production of documents

                     7   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                     8   privilege from discovery.

                     9           Subject to and without waiver of the objections above, Defendant responds as follows:

                    10   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    11   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    12   discovery commences.

                    13   REQUEST FOR PRODUCTION NO. 8:

                    14           All DOCUMENTS and COMMUNICATIONS REFERRING TO the transition of

                    15   PLAINTIFF's online chat communications from a paid subscription service to no-cost options.

                    16   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

                    17           Defendant incorporates his General Objections by reference.

                    18           Defendant objects to this request as overbroad to the extent it does not contain a date

                    19   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    20   initiation of this litigation.

                    21           Defendant objects to this request to the extent it seeks the collection of documents that are

                    22   more accessible to Plaintiff than to Defendant.

                    23           Defendant objects to this request to the extent it seeks the production of documents

                    24   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    25   privilege from discovery.

                    26           Subject to and without waiver of the objections above, Defendant responds as follows:

                    27   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    28
KASOWITZ BENSON
  TORRES LLP                                                               8                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 15 of 149



                     1   documents. Defendant reserves the right to supplement or amend this response as discovery

                     2   commences.

                     3   REQUEST FOR PRODUCTION NO. 9:

                     4           All DOCUMENTS and COMMUNICATIONS REFERRING TO the transition of

                     5   PLAINTIFF's online chat communications from SLACK to other options.

                     6   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

                     7           Defendant incorporates his General Objections by reference.

                     8           Defendant objects to this request as overbroad to the extent it does not contain a date

                     9   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    10   initiation of this litigation.

                    11           Defendant objects to this request to the extent it seeks the collection of documents that are

                    12   more accessible to Plaintiff than to Defendant.

                    13           Defendant objects to this request to the extent it seeks the production of documents

                    14   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    15   privilege from discovery.

                    16           Subject to and without waiver of the objections above, Defendant responds as follows:

                    17   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    18   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    19   discovery commences.

                    20   REQUEST FOR PRODUCTION NO. 10:

                    21           All DOCUMENTS and COMMUNICATIONS purporting to give YOU authority to

                    22   delete PLAINTIFF’s SLACK ACCOUNT.

                    23   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

                    24           Defendant incorporates his General Objections by reference.

                    25           Defendant objects to this request as overbroad to the extent it does not contain a date

                    26   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    27   initiation of this litigation.

                    28
KASOWITZ BENSON
  TORRES LLP                                                               9                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 16 of 149



                     1           Defendant objects to this request to the extent it seeks the collection of documents that are

                     2   more accessible to Plaintiff than to Defendant.

                     3           Defendant objects to this request to the extent it seeks the production of documents

                     4   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                     5   privilege from discovery.

                     6           Subject to and without waiver of the objections above, Defendant responds as follows:

                     7   Defendant will perform a reasonable search and produce any responsive, non-privileged

                     8   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                     9   discovery commences.

                    10   REQUEST FOR PRODUCTION NO. 11:

                    11           ALL DOCUMENTS that YOU identified in your responses to the special interrogatories,

                    12   served herewith.

                    13   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

                    14           Defendant incorporates his amended objections and responses to Plaintiff’s first set of

                    15   interrogatories.

                    16           Defendant incorporates his General Objections by reference.

                    17           Defendant objects to this request as overbroad to the extent it does not contain a date

                    18   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    19   initiation of this litigation.

                    20           Defendant objects to this request to the extent it seeks the collection of documents that are

                    21   more accessible to Plaintiff than to Defendant.

                    22           Defendant objects to this request to the extent it seeks the production of documents

                    23   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    24   privilege from discovery.

                    25           Subject to and without waiver of the objections above, Defendant responds as follows:

                    26   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    27   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    28   discovery commences.
KASOWITZ BENSON
  TORRES LLP                                                               10               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 17 of 149



                     1   REQUEST FOR PRODUCTION NO. 12:

                     2           All DOCUMENTS and COMMUNICATIONS REFERRING TO any of the factual

                     3   events alleged in PLAINTIFF’s Complaint or YOUR Answer to PLAINTIFF’s Complaint.

                     4   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

                     5           Defendant incorporates his General Objections by reference.

                     6           Defendant objects to this request as overbroad to the extent it does not contain a date

                     7   range. Defendant will limit his reasonable search, if any, to documents generated before the

                     8   initiation of this litigation.

                     9           Defendant objects to this request to the extent it seeks the collection of documents that are

                    10   more accessible to Plaintiff than to Defendant.

                    11           Defendant objects to this request as overbroad and unduly burdensome.

                    12           Defendant objects to this request to the extent it seeks the production of documents

                    13   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    14   privilege from discovery.

                    15           Subject to and without waiver of the objections above, Defendant responds as follows:

                    16   Defendant is willing to meet and confer with Plaintiff about a reasonable scope for this request.

                    17   Defendant reserves the right to supplement or amend this response as discovery commences.

                    18   REQUEST FOR PRODUCTION NO. 13:

                    19           All DOCUMENTS REFERRING TO PLAINTIFF that YOU have not returned to

                    20   PLAINTIFF as of the termination of YOUR employment by PLAINTIFF.

                    21   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

                    22           Defendant incorporates his General Objections by reference.

                    23           Defendant objects to this request as overbroad to the extent it does not contain a date

                    24   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    25   initiation of this litigation.

                    26           Defendant objects to this request to the extent it seeks the collection of documents that are

                    27   more accessible to Plaintiff than to Defendant.

                    28
KASOWITZ BENSON
  TORRES LLP                                                               11               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 18 of 149



                     1          Defendant objects to this request as overbroad and unduly burdensome to the extent it

                     2   seeks all documents “referring to plaintiff,” regardless of whether plaintiff has any cognizable

                     3   right to the return of such documents.

                     4          Defendant objects to this request to the extent it seeks the production of documents

                     5   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                     6   privilege from discovery.

                     7          Subject to and without waiver of the objections above, Defendant responds as follows:

                     8   Defendant is willing to meet and confer with Plaintiff about a reasonable scope for this request.

                     9   Defendant reserves the right to supplement or amend this response as discovery commences.

                    10

                    11   Dated: May 12, 2022                                 KASOWITZ BENSON TORRES LLP
                    12

                    13                                                       By: /s/ Jason S. Takenouchi
                                                                                 Jason S. Takenouchi
                    14
                                                                             Attorneys for Defendant
                    15                                                       DANIEL JAIYONG AN
                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                            12                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 19 of 149



                     1                                       CERTIFICATE OF SERVICE

                     2             I, Linda L. Rich, declare that I am employed by Kasowitz Benson Torres LLP, located in

                     3   the City and County of San Francisco, at the business address of 101 California Street, Suite

                     4   3000, San Francisco, California 94111. I am over the age of eighteen years and am not a party to

                     5   this matter.

                     6        On May 12, 2022, I served the following document(s):

                     7              DEFENDANT’S AMENDED RESPONSES AND OBJECTIONS TO
                                     PLAINTIFF’S REQUESTS FOR PRODUCTION OF DOCUMENTS (SET ONE)
                     8
                                   On the interested parties in this action as follows:
                     9
                                      BY EMAIL. I caused the document(s) to be transmitted to the person(s) at the
                    10   electronic service address above.
                    11               BY MAIL. I placed the above-documents in sealed envelope(s), with postage
                         thereon fully prepaid, for collection and mailing at San Francisco, California, following ordinary
                    12   business practices. I am readily familiar with the practices of Kasowitz Benson Torres LLP for
                         processing of correspondence, said practice being that in the ordinary course of business,
                    13   correspondence is deposited in the United States Postal Service the same day as it is placed for
                         processing.
                    14

                    15    STEVEN L. FRIEDLANDER                                  Attorneys for Plaintiff
                          GALEN P. SALLOMI                                       Trustlabs, Inc.
                    16    CARL KAPLAN
                          SV EMPLOYMENT LAW FIRM PC
                    17    160 Bovet Road, Suite 401
                          San Mateo, California 94402
                    18    Telephone: (650) 265-0222
                          Facsimile: (650) 265-0223
                    19    Email: sfriedlander@svelf.com
                                 gsallomi@svelf.com
                    20           ckaplan@svelf.com
                    21
                                   I declare under penalty of perjury that the foregoing is true and correct. Executed on
                    22
                         May 12, 2022, in San Francisco, California.
                    23

                    24

                    25
                                                                          _________________________________
                    26                                                          Linda L. Rich
                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                                 1                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                 CERTIFICATE OF SERVICE
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 20 of 149




   EXHIBIT B
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 21 of 149



                     1   KASOWITZ BENSON TORRES LLP
                         Jason S. Takenouchi (SBN 234835)
                     2   101 California Street, Suite 3000
                         San Francisco, California 94111
                     3   Telephone:     (415) 421-6140
                         Facsimile:     (415) 398-5030
                     4   JTakenouchi@kasowitz.com

                     5   Attorneys for Defendant
                         DANIEL JAIYONG AN
                     6

                     7

                     8                                 UNITED STATES DISTRICT COURT
                     9                             NORTHERN DISTRICT OF CALIFORNIA
                    10

                    11   TRUSTLABS, INC., a Delaware Corporation,         Case No. 3:21-cv-02606-CRB

                    12                    Plaintiff,                      DEFENDANT’S AMENDED
                                                                          RESPONSES AND OBJECTIONS TO
                    13         v.                                         PLAINTIFF’S INTERROGATORIES
                                                                          (SET ONE)
                    14   DANIEL JAIYONG AN,
                                                                          Dept:       6
                    15                    Defendant.                      Judge:      Charles R. Breyer
                                                                          Trial Date: TBA
                    16                                                    Date Action Filed: April 4, 2021

                    17

                    18
                         PROPOUNDING PARTY:            Plaintiff TRUSTLABS, INC.
                    19
                         RESPONDING PARTY:             Defendant DANIEL JAIYONG AN
                    20
                         SET NUMBER:                   One
                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                                          Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                               DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 22 of 149



                     1          Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure (the “Federal Rules”),

                     2   and the Local Civil Rules for the Northern District of California (the “Local Rules”), defendant

                     3   Daniel Jaiyong An (“Defendant” or “Jaiyong An”) hereby submits his amended responses and

                     4   objections to plaintiff TrustLabs, Inc. (“Plaintiff” or “TrustLabs”) First Set of Interrogatories as

                     5   follows:

                     6                                    PRELIMINARY STATEMENT

                     7          1.      Defendant’s investigation and development of all facts and circumstances relating

                     8   to this action is ongoing. These responses and objections are made without prejudice to, and are

                     9   not a waiver of, Defendant’s right to rely on other facts or documents at trial.

                    10          2.      By making the accompanying responses and objections to Plaintiff’s requests and

                    11   interrogatories, Defendant does not waive, and hereby expressly reserves, his right to assert any

                    12   and all objections as to the admissibility of such responses into evidence in this action, or in any

                    13   other proceedings, on any and all grounds including, but not limited to, competency, relevancy,

                    14   materiality, and privilege. Further, Defendant makes the responses and objections herein without

                    15   in any way implying that he considers the requests and interrogatories, and responses to the

                    16   requests and interrogatories, to be relevant or material to the subject matter of this action.

                    17          3.      A response to a request or interrogatory stating and/or indicating that documents

                    18   will be produced shall not be deemed or construed to be a statement that there are, in fact,

                    19   responsive documents, that Defendant performed any of the acts described in the request,

                    20   interrogatory, or definitions and/or instructions applicable to the request or interrogatory, or that

                    21   Defendant acquiesces in the characterization of the conduct or activities contained in the request,

                    22   interrogatory, or definitions and/or instructions applicable to the request or interrogatory.

                    23          4.      Responding Party expressly reserves the right to supplement, clarify, revise, or

                    24   correct any or all of the responses and objections herein, and to assert additional objections or

                    25   privileges, in one or more subsequent supplemental response(s).

                    26                                       GENERAL OBJECTIONS

                    27          These General Objections to Plaintiff’s First Set of Interrogatories are incorporated in

                    28   each response below as if repeated and stated separately in each response.
KASOWITZ BENSON
  TORRES LLP                                                              2                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 23 of 149



                     1            1.    Defendant objects to each instruction, definition, request, and interrogatory to the

                     2   extent that it purports to impose any requirement or discovery obligation greater than or different

                     3   from those under the Federal Rules of Civil Procedure and the applicable Rules and Orders of the

                     4   Court.

                     5            2.    Defendant objects to each request and interrogatory that is overly broad, unduly

                     6   burdensome, or not reasonably calculated to lead to the discovery of admissible evidence.

                     7            3.    Defendant objects to each instruction, definition, request, and interrogatory to the

                     8   extent that it seeks documents protected from disclosure by the attorney-client privilege, attorney

                     9   work product doctrine, or any other applicable privilege. Should any such disclosure by

                    10   Defendant occur, it is inadvertent and shall not constitute a waiver of any privilege.

                    11            4.    Defendant objects to each instruction, definition, request, and interrogatory as

                    12   overbroad and unduly burdensome to the extent it seeks documents or information that are readily

                    13   or more accessible to Plaintiff from Plaintiff’s own files, or from documents or information in

                    14   Plaintiff’s possession. Responding to such requests and interrogatories would be oppressive,

                    15   unduly burdensome, and unnecessarily expensive, and the burden of responding to such requests

                    16   and interrogatories are substantially the same or less for Plaintiff as for Defendant.

                    17            5.    To the extent any of Plaintiff’s requests or interrogatories seek documents or

                    18   answers that include expert material, including but not limited to survey materials, Defendant

                    19   objects to any such requests and interrogatories as premature and expressly reserves the right to

                    20   supplement, clarify, revise, or correct any or all responses to such requests, and to assert

                    21   additional objections or privileges, in one or more subsequent supplemental response(s) in

                    22   accordance with the time period for exchanging expert reports set by the Court.

                    23            6.    Defendant incorporates by reference every general objection set forth above into

                    24   each specific response set forth below. A specific response may repeat a general objection for

                    25   emphasis or some other reason. The failure to include any general objection in any specific

                    26   response does not waive any general objection to that request. Moreover, Responding Party does

                    27   not waive his right to amend his responses.

                    28
KASOWITZ BENSON
  TORRES LLP                                                              3                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                  DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 24 of 149



                     1                              RESPONSES TO INTERROGATORIES

                     2   INTERROGATORY NO. 1:

                     3          IDENTIFY each PERSON who knew in advance that you would delete PLAINTIFF's

                     4   SLACK ACCOUNT.

                     5   RESPONSE TO INTERROGATORY NO. 1:

                     6          Defendant incorporates his General Objections by reference. Defendant objects to the

                     7   extent this Interrogatory seeks information that is not in Defendant’s knowledge—i.e., the identity

                     8   of everyone “who knew in advance,” regardless of whether Defendant was aware of that person’s

                     9   knowledge. Defendant will limit his response to only those individuals whom Defendant

                    10   currently recalls he informed of his plan to delete the Slack account.

                    11          Defendant objects to the term “Identify” to the extent it requests anything other than the

                    12   name of persons who are associated with Plaintiff.

                    13          Subject to and without waiver of the objections above, Defendant responds as follows:

                    14   Rafael Cosman. Defendant reserves the right to supplement or amend this response as discovery

                    15   commences.

                    16   INTERROGATORY NO. 2:

                    17          List each COMMUNICATION in which YOU held yourself out to be or represented that

                    18   you were affiliated with PLAINTIFF on or after July 6, 2020 and IDENTIFY each PERSON who

                    19   participated in such COMMUNICATIONS.

                    20   RESPONSE TO INTERROGATORY NO. 2:

                    21          Defendant incorporates his General Objections by reference. Defendant objects to this

                    22   interrogatory as vague to the extent it uses the undefined term “affiliated with.” Defendant will

                    23   define this term to mean “employed by.”

                    24          Subject to and without waiver of the objections above, Defendant responds as follows:

                    25   Defendant has no communications to disclose. Defendant reserves the right to supplement or

                    26   amend this response as discovery commences.

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                             4                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 25 of 149



                     1   INTERROGATORY NO. 3:

                     2          Do you contend that you deleted PLAINTIFF's SLACK account on July 6, 2020 in order

                     3   to "transition TrustLabs’s online chat communications from a paid subscription service to a no-

                     4   cost option as a cost reduction measure"? If so, state each fact which you believe supports your

                     5   contention.

                     6   RESPONSE TO INTERROGATORY NO. 3:

                     7          Defendant incorporates his General Objections by reference. Defendant objects to this

                     8   interrogatory as premature to the extent it seeks “each fact” in support of the stated contention.

                     9   Defendant will respond based on his current knowledge, and reserves the right to supplement or

                    10   amend this response as discovery commences.

                    11          Subject to and without waiver of the objections above, Defendant responds as follows:

                    12   Defendant believed at the time he deleted the Slack account that one of the benefits of moving to

                    13   a no-cost option was the reduction of costs for the company. Defendant believed that Slack

                    14   charged or was planning to charge on a per-user basis. Defendant reserves the right to

                    15   supplement or amend this response as discovery commences.

                    16   INTERROGATORY NO. 4:

                    17          Do you contend that you were authorized to delete PLAINTIFF's SLACK account? If so,

                    18   state each fact which you believe supports your contention.

                    19   RESPONSE TO INTERROGATORY NO. 4:

                    20          Defendant incorporates his General Objections by reference. Defendant objects to this

                    21   interrogatory as premature to the extent it seeks “each fact” in support of the stated contention.

                    22   Defendant will respond based on his current knowledge, and reserves the right to supplement or

                    23   amend this response as discovery commences.

                    24          Subject to and without waiver of the objections above, Defendant responds as follows:

                    25   Defendant established and was the sole administrator of the Slack account. As president and

                    26   CEO of the company, and one of two board members at the time, Defendant was authorized to

                    27   make decisions about the company’s operations, including the Slack account. Defendant reserves

                    28   the right to supplement or amend this response as discovery commences.
KASOWITZ BENSON
  TORRES LLP                                                              5                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 26 of 149



                     1   INTERROGATORY NO. 5:

                     2            Do you contend that you were authorized to access any accounts belonging to

                     3   PLAINTIFF (including, without limitation, accounts with REDDIT or HUBSPOT) after

                     4   PLAINTIFF terminated YOUR employment on July 6, 2020? If so, state each fact which you

                     5   believe supports your contention.

                     6   RESPONSE TO INTERROGATORY NO. 5:

                     7            Defendant incorporates his General Objections by reference. Defendant objects to this

                     8   interrogatory as premature to the extent it seeks “each fact” in support of the stated contention.

                     9   Defendant will respond based on his current knowledge, and reserves the right to supplement or

                    10   amend this response as discovery commences.

                    11            Defendant objects to this interrogatory as unintelligible to the extent it is premised on

                    12   Plaintiff’s assertion that it “terminated YOUR employment on July 6, 2020.” In its complaint

                    13   Plaintiff asserts that the termination was July 7.

                    14            Subject to and without waiver of the objections above, Defendant responds as follows:

                    15   Defendant does not contend he was authorized to access the specified accounts after July 7, 2020,

                    16   if he had been properly terminated by Plaintiff on that date. Defendant has served discovery on

                    17   Plaintiff seeking documents concerning the purported termination on July 7. Defendant reserves

                    18   the right to supplement or amend this response as discovery commences.

                    19   INTERROGATORY NO. 6:

                    20            Is your response to each Request for Admission served with these interrogatories an

                    21   unqualified admission? If not, for each response that is not an unqualified admission: a) state the

                    22   number of the request; b) state all facts upon which you base your response; c) IDENTIFY all

                    23   PERSONS who have knowledge of those facts; and d) describe all DOCUMENTS and tangible

                    24   things that support your response and IDENTIFY each PERSON who has each DOCUMENT or

                    25   thing.

                    26   RESPONSE TO INTERROGATORY NO. 6A, 6B, 6C AND 6D:

                    27            Defendant incorporates his General Objections by reference. Defendant objects to this

                    28   interrogatory as premature to the extent it seeks “all facts,” “all Persons” and “All Documents.”
KASOWITZ BENSON
  TORRES LLP                                                                  6               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                  DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 27 of 149



                     1   Defendant’s response, if any, will be based on his current knowledge, and he reserves the right to

                     2   supplement or amend any response as discovery commences.

                     3          Defendant objects to this interrogatory as compound. It seeks information on a range of

                     4   Requests for Admission, and seeks different categories of information as to each Request for

                     5   Admission. Defendant will respond as to the first Request for Admission that is not an

                     6   unqualified admission, and will treat this interrogatory as four separate interrogatories (i.e., (A)

                     7   state all facts upon which you base your response; (B) IDENTIFY all PERSONS who have

                     8   knowledge of those facts; (C) describe all DOCUMENTS and tangible things that support your

                     9   response, and (D) IDENTIFY each PERSON who has each DOCUMENT or thing”).

                    10          Defendant objects to the term “Identify” to the extent it requests anything other than the

                    11   name of persons who are associated with Plaintiff.

                    12          Defendant objects to the extent this interrogatory seeks information protected by the

                    13   attorney-client privilege, the attorney work product doctrine, or any similar privilege or protection

                    14   from discovery.

                    15          Subject to and without waiver of the objections above, Defendant responds as follows:

                    16   Defendant’s response to Request for Admission No. 1 is not an unqualified admission. With

                    17   respect to Request for Admission No. 1, Defendant responds as follows:

                    18                 6A: Alex de Lorraine discussed holding a shareholder vote regarding Defendant’s

                    19                  role before he was informed of his purported termination. Defendant does not

                    20                  recall that the discussion focused on “reassigning YOUR duties.”

                    21                 6B: Alex de Lorraine, Rafael Cosman.

                    22                 6C: Defendant does not currently have documents to disclose.

                    23                 6D: Defendant is not aware whether the individuals listed in response to

                    24                  interrogatory 6B are in possession of documents responsive to this interrogatory.

                    25          Defendant reserves the right to supplement or amend this response as discovery

                    26   commences.

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                              7                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 28 of 149



                     1   INTERROGATORY NO. 7:

                     2          Identify each denial of a material allegation and each special or affirmative defense in

                     3   your pleadings and for each: (a) state all facts upon which you base the denial or special or

                     4   affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c)

                     5   describe all DOCUMENTS and tangible things that support your denial or special or affirmative

                     6   defense and IDENTIFY each PERSON who has each DOCUMENT or thing.

                     7   RESPONSE TO INTERROGATORY NO. 7:

                     8          Defendant incorporates his General Objections by reference. Defendant objects to this

                     9   interrogatory as premature to the extent it seeks “all facts,” “all Persons” and “All Documents.”

                    10   Defendant’s response, if any, will be based on his current knowledge, and he reserves the right to

                    11   supplement or amend any response as discovery commences.

                    12          Defendant objects to this interrogatory as compound. It seeks information on a range of

                    13   “material allegation[s]” and “each special or affirmative defense,” and seeks different categories

                    14   of information with respect to each.

                    15          Defendant objects to the term “Identify” to the extent it requests anything other than the

                    16   name of persons who are associated with Plaintiff.

                    17          Defendant objects to the extent this interrogatory seeks information protected by the

                    18   attorney-client privilege, the attorney work product doctrine, or any similar privilege or protection

                    19   from discovery.

                    20          Subject to and without waiver of the objections above, Defendant responds as follows:

                    21   Defendant is willing to meet and confer with Plaintiff about the scope of this interrogatory and

                    22   the number of interrogatories Plaintiff intends. Defendant reserves the right to supplement or

                    23   amend this response as discovery commences.

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                             8                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 29 of 149



                     1   Dated: May 12, 2022                        KASOWITZ BENSON TORRES LLP

                     2

                     3                                              By: /s/ Jason S. Takenouchi
                                                                        Jason S. Takenouchi
                     4
                                                                    Attorneys for Defendant
                     5                                              DANIEL JAIYONG AN
                     6

                     7

                     8

                     9

                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                    9                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                               DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 30 of 149



                     1                                            VERIFICATION

                     2          I, Daniel Jaiyong An, declare as follows:

                     3          I am the defendant in the above-captioned action. I have read the foregoing

                     4   DEFENDANT’S AMENDED RESPONSES AND OBJECTIONS TO PLAINTIFF’S

                     5   INTERROGATORIES (SET ONE). As to those matters of which I have personal knowledge, I

                     6   verify that they are true and correct. As to those matters of which I have no personal knowledge,

                     7   I am informed and to the best of my knowledge believe the matters therein to be true, and on that

                     8   ground allege that the matters stated therein are true.

                     9          I declare under penalty of perjury under the laws of the State of California that the

                    10   foregoing is true and correct. Executed at San Juan, Puerto Rico on this 11th day of May, 2022.

                    11

                    12
                                                                               Daniel Jaiyong An
                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                              10               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 31 of 149



                     1                                       CERTIFICATE OF SERVICE

                     2             I, Linda L. Rich, declare that I am employed by Kasowitz Benson Torres LLP, located in

                     3   the City and County of San Francisco, at the business address of 101 California Street, Suite

                     4   3000, San Francisco, California 94111. I am over the age of eighteen years and am not a party to

                     5   this matter.

                     6        On May 12, 2022, I served the following document(s):

                     7              DEFENDANT’S AMENDED RESPONSES AND OBJECTIONS TO
                                     PLAINTIFF’S INTERROGATORIES (SET ONE)
                     8

                     9             On the interested parties in this action as follows:
                    10                BY EMAIL. I caused the document(s) to be transmitted to the person(s) at the
                         electronic service address above.
                    11
                                     BY MAIL. I placed the above-documents in sealed envelope(s), with postage
                    12   thereon fully prepaid, for collection and mailing at San Francisco, California, following ordinary
                         business practices. I am readily familiar with the practices of Kasowitz Benson Torres LLP for
                    13   processing of correspondence, said practice being that in the ordinary course of business,
                         correspondence is deposited in the United States Postal Service the same day as it is placed for
                    14   processing.
                    15    STEVEN L. FRIEDLANDER                                  Attorneys for Plaintiff
                          GALEN P. SALLOMI                                       Trustlabs, Inc.
                    16    CARL KAPLAN
                          SV EMPLOYMENT LAW FIRM PC
                    17    160 Bovet Road, Suite 401
                          San Mateo, California 94402
                    18    Telephone: (650) 265-0222
                          Facsimile: (650) 265-0223
                    19    Email: sfriedlander@svelf.com
                                 gsallomi@svelf.com
                    20           ckaplan@svelf.com
                    21
                                   I declare under penalty of perjury that the foregoing is true and correct. Executed on
                    22
                         May 12, 2022, in San Francisco, California.
                    23

                    24

                    25
                                                                          _________________________________
                    26                                                          Linda L. Rich
                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                                 1                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                 CERTIFICATE OF SERVICE
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 32 of 149




   EXHIBIT C
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 33 of 149



                     1   KASOWITZ BENSON TORRES LLP
                         Jason S. Takenouchi (SBN 234835)
                     2   101 California Street, Suite 3000
                         San Francisco, California 94111
                     3   Telephone:     (415) 421-6140
                         Facsimile:     (415) 398-5030
                     4   JTakenouchi@kasowitz.com

                     5   Attorneys for Defendant
                         DANIEL JAIYONG AN
                     6

                     7

                     8                                   UNITED STATES DISTRICT COURT
                     9                              NORTHERN DISTRICT OF CALIFORNIA
                    10

                    11   TRUSTLABS, INC., a Delaware Corporation,             Case No. 3:21-cv-02606-CRB

                    12                      Plaintiff,                        DEFENDANT’S AMENDED
                                                                              RESPONSES AND OBJECTIONS TO
                    13          v.                                            PLAINTIFF’S REQUESTS FOR
                                                                              ADMISSION (SET ONE)
                    14   DANIEL JAIYONG AN,
                                                                              Dept:       6
                    15                      Defendant.                        Judge:      Charles R. Breyer
                                                                              Trial Date: TBA
                    16                                                        Date Action Filed: April 4, 2021

                    17
                         PROPOUNDING PARTY:              Plaintiff TRUSTLABS, INC.
                    18
                         RESPONDING PARTY:               Defendant DANIEL JAIYONG AN
                    19
                         SET NUMBER:                     One
                    20
                                Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure (the “Federal Rules”),
                    21
                         and the Local Civil Rules for the Northern District of California (the “Local Rules”), defendant
                    22
                         Daniel Jaiyong An (“Defendant” or “Jaiyong An”) hereby submits his amended responses and
                    23
                         objections to the First Set of Requests for Admission (the “Requests,” and each a “Request”)
                    24
                         from plaintiff TrustLabs, Inc. (“Plaintiff” or “TrustLabs”) as follows:
                    25
                                                          PRELIMINARY STATEMENT
                    26
                                1.      Defendant’s investigation and development of all facts and circumstances relating
                    27
                         to this action is ongoing. These responses and objections are made without prejudice to, and are
                    28
KASOWITZ BENSON
  TORRES LLP                                                                                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 34 of 149



                     1   not a waiver of, Defendant’s right to rely on other facts or documents at trial.

                     2            2.    By making the accompanying responses and objections to Plaintiff’s requests and

                     3   interrogatories, Defendant does not waive, and hereby expressly reserves, his right to assert any

                     4   and all objections as to the admissibility of such responses into evidence in this action, or in any

                     5   other proceedings, on any and all grounds including, but not limited to, competency, relevancy,

                     6   materiality, and privilege. Further, Defendant makes the responses and objections herein without

                     7   in any way implying that he considers the requests and interrogatories, and responses to the

                     8   requests and interrogatories, to be relevant or material to the subject matter of this action.

                     9            3.    Defendanty reserves the right to supplement, clarify, revise, or correct any or all of

                    10   the responses and objections herein, and to assert additional objections or privileges, in one or

                    11   more subsequent supplemental response(s).

                    12                                       GENERAL OBJECTIONS

                    13            1.    Defendant objects to each instruction, definition, request, and interrogatory to the

                    14   extent that it purports to impose any requirement or discovery obligation greater than or different

                    15   from those under the Federal Rules of Civil Procedure and the applicable Rules and Orders of the

                    16   Court.

                    17            2.    Defendant objects to each request and interrogatory that is overly broad, unduly

                    18   burdensome, or not reasonably calculated to lead to the discovery of admissible evidence.

                    19            3.    Defendant objects to each instruction, definition, request, and interrogatory to the

                    20   extent that it seeks documents protected from disclosure by the attorney-client privilege, attorney

                    21   work product doctrine, or any other applicable privilege. Should any such disclosure by

                    22   Defendant occur, it is inadvertent and shall not constitute a waiver of any privilege.

                    23            4.    To the extent any of Plaintiff’s requests or interrogatories seek documents or

                    24   answers that include expert material, Defendant objects to any such requests and interrogatories

                    25   as premature and expressly reserves the right to supplement, clarify, revise, or correct any or all

                    26   responses to such requests, and to assert additional objections or privileges, in one or more

                    27   subsequent supplemental response(s) in accordance with the time period for exchanging expert

                    28   reports set by the Court.
KASOWITZ BENSON
  TORRES LLP                                                              2                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 35 of 149



                     1                         RESPONSES TO REQUESTS FOR ADMISSION

                     2   REQUEST FOR ADMISSION NO. 1:

                     3          Admit that YOU and PLAINTIFF discussed reassigning YOUR duties as CEO and

                     4   President to Rafael Cosman and/or Alex de Lorraine.

                     5   RESPONSE TO REQUEST FOR ADMISSION NO. 1:

                     6          Defendant incorporates his General Objections by reference.

                     7          Defendant objects to this request as compound to the extent it uses the term “and/or.”

                     8   Defendant will treat this request as stating “and” rather than “and/or.”

                     9          Defendant objects to this request as vague and unduly burdensome to the extent it uses the

                    10   undefined phrase “reassigning YOUR duties.” Defendant will interpret this to mean a full

                    11   reassignment of all duties that Defendant had as CEO and President.

                    12          Subject to and without waiver of the objections above, Defendant responds as follows:

                    13   Denied.

                    14   REQUEST FOR ADMISSION NO. 2:

                    15          Admit that YOU agreed to provide a letter of employment resignation to PLAINTIFF by 4

                    16   p.m. Pacific Time on Monday, July 6, 2020.

                    17   RESPONSE TO REQUEST FOR ADMISSION NO. 2:

                    18          Defendant incorporates his General Objections by reference. Defendant objects to this

                    19   request as ambiguous to the extent it could be interpreted as asking whether he made the specified

                    20   agreement “on Monday, July 6.” Defendant will interpret the request as asking whether he made

                    21   the specified agreement at some before 4 p.m. Pacific Time on Monday, July 6, 2020, and

                    22   whether that agreement was that he would provide a resignation letter by 4 p.m. Pacific Time on

                    23   Monday, July 6, 2020.

                    24          Subject to and without waiver of the objections above, Defendant responds as follows:

                    25   Denied.

                    26   REQUEST FOR ADMISSION NO. 3:

                    27          Admit that YOU deleted PLAINTIFF's SLACK ACCOUNT on July 6, 2020.

                    28
KASOWITZ BENSON
  TORRES LLP                                                              3                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 36 of 149



                     1   RESPONSE TO REQUEST FOR ADMISSION NO. 3:

                     2          Defendant incorporates his General Objections by reference.

                     3          Subject to and without waiver of the objections above, Defendant responds as follows:

                     4   Admitted.

                     5   REQUEST FOR ADMISSION NO. 4:

                     6          Admit that YOU were not authorized to delete PLAINTIFF's SLACK ACCOUNT on July

                     7   6, 2020.

                     8   RESPONSE TO REQUEST FOR ADMISSION NO. 4:

                     9          Defendant incorporates his General Objections by reference.

                    10          Defendant objects to this request as vague and ambiguous to the extent it uses the

                    11   undefined term “authorized,” and to the extent that term could be construed to call for a legal

                    12   conclusion. Defendant will apply the common sense definition of “authorized” to this request.

                    13          Subject to and without waiver of the objections above, Defendant responds as follows:

                    14   Denied.

                    15   REQUEST FOR ADMISSION NO. 5:

                    16          Admit that YOU accessed or attempted to access accounts belonging to PLAINTIFF

                    17   (including, without limitation, accounts with REDDIT or HUBSPOT) after PLAINTIFF

                    18   terminated YOUR employment on July 6, 2020.

                    19   RESPONSE TO REQUEST FOR ADMISSION NO. 5:

                    20          Defendant incorporates his General Objections by reference.

                    21          Defendant objects to this request as compound to the extent it uses the term “or.”

                    22   Defendant will limit this request to “accessed,” and exclude the term “attempted to access.

                    23          Defendant objects to this request to the extent it misstates the date of his purported

                    24   termination. Defendant will interpret this request to focus on events after July 7, 2020, which is

                    25   the date Plaintiff claims he was terminated.

                    26          Subject to and without waiver of the objections above, Defendant responds as follows:

                    27   Denied.

                    28
KASOWITZ BENSON
  TORRES LLP                                                             4                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 37 of 149



                     1   REQUEST FOR ADMISSION NO. 6:

                     2          Admit that YOU were not authorized to access accounts belonging to PLAINTIFF

                     3   (including, without limitation, accounts with REDDIT or HUBSPOT) after PLAINTIFF

                     4   terminated YOUR employment on July 6, 2020.

                     5   RESPONSE TO REQUEST FOR ADMISSION NO. 6:

                     6          Defendant incorporates his General Objections by reference.

                     7          Defendant objects to this request as vague and ambiguous to the extent it uses the

                     8   undefined term “authorized,” and to the extent that term could be construed to call for a legal

                     9   conclusion. Defendant will apply the common sense definition of “authorized” to this request.

                    10          Defendant objects to this request to the extent it misstates the date of his purported

                    11   termination. Defendant will interpret this request to focus on events after July 7, 2020, which is

                    12   the date Plaintiff claims he was terminated.

                    13          Defendant objects to this request to the extent it assumes Defendant was notified of

                    14   Plaintiff’s purported termination of his employment on July 7, 2020.

                    15          Subject to and without waiver of the objections above, Defendant responds as follows:

                    16   Denied.

                    17

                    18   Dated: May 12, 2022                                 KASOWITZ BENSON TORRES LLP
                    19

                    20                                                       By:/s/ Jason S. Takenouchi
                                                                                 Jason S. Takenouchi
                    21
                                                                             Attorneys for Defendant
                    22                                                       DANIEL JAIYONG AN
                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                             5                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 38 of 149



                     1                                       CERTIFICATE OF SERVICE

                     2             I, Linda L. Rich, declare that I am employed by Kasowitz Benson Torres LLP, located in

                     3   the City and County of San Francisco, at the business address of 101 California Street, Suite

                     4   3000, San Francisco, California 94111. I am over the age of eighteen years and am not a party to

                     5   this matter.

                     6        On May 12, 2022, I served the following document(s):

                     7              DEFENDANT’S AMENDED RESPONSES AND OBJECTIONS TO
                                     PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                     8
                                   On the interested parties in this action as follows:
                     9
                                      BY EMAIL. I caused the document(s) to be transmitted to the person(s) at the
                    10   electronic service address above.
                    11               BY MAIL. I placed the above-documents in sealed envelope(s), with postage
                         thereon fully prepaid, for collection and mailing at San Francisco, California, following ordinary
                    12   business practices. I am readily familiar with the practices of Kasowitz Benson Torres LLP for
                         processing of correspondence, said practice being that in the ordinary course of business,
                    13   correspondence is deposited in the United States Postal Service the same day as it is placed for
                         processing.
                    14

                    15    STEVEN L. FRIEDLANDER                                  Attorneys for Plaintiff
                          GALEN P. SALLOMI                                       Trustlabs, Inc.
                    16    CARL KAPLAN
                          SV EMPLOYMENT LAW FIRM PC
                    17    160 Bovet Road, Suite 401
                          San Mateo, California 94402
                    18    Telephone: (650) 265-0222
                          Facsimile: (650) 265-0223
                    19    Email: sfriedlander@svelf.com
                                 gsallomi@svelf.com
                    20           ckaplan@svelf.com
                    21
                                   I declare under penalty of perjury that the foregoing is true and correct. Executed on
                    22
                         May 12, 2022, in San Francisco, California.
                    23

                    24

                    25
                                                                          _________________________________
                    26                                                          Linda L. Rich
                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                                 1                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                 CERTIFICATE OF SERVICE
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 39 of 149




   EXHIBIT D
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 40 of 149


From:            Galen Sallomi
To:              Jason S. Takenouchi
Cc:              Steven Friedlander; Carl Kaplan; Katheryn Wenger
Subject:         Trustlabs v. An - Follow-up re meet and confer about discovery responses
Date:            Wednesday, July 6, 2022 4:06:00 PM
Attachments:     image001.png


Hi Jason,

The purpose of this email is to summarize our June 24 conversation about the parties’ discovery
responses and to respond to the questions you asked on our call. Please let us know if anything in
the summary paragraphs below does not comport with your understanding.

As a preliminary matter, we understand you disagree with our position that Mr. An’s new objections
are improper and that we are at an impasse on this point. We discussed several objections in detail.

      We explained that RFP No. 3 requested a document (or documents) that showed each time
      Mr. An tried to access any account belonging to Trustlabs after he was terminated as CEO
      during the relevant time-period, including a browser history showing whether he accessed
      any relevant websites and any emails that were sent to his accounts showing that he accessed
      or attempted to access these accounts. You agreed to search for these documents.

      We then discussed the definition of “held yourself out to be or represented that you were
      affiliated” as the phrase is used in RFP No. 7 and SROG No. 2, and I explained that we are
      seeking all communications Mr. An had with any third party where he discussed Trustlabs’
      business or negotiated on behalf of Trustlabs. We explained Trustlabs is aware he continued
      to communicate with TrustLabs’ investors (i.e., people and entities that hold Trustlabs assets
      or tokens) or potential investors after he was removed from his position as CEO. You agreed
      to search for these documents.

      We then discussed the definition of the word “authorized” as used in RFA Nos. 4, 6 and I
      explained we were seeking Mr. An’s legal position on whether he was authorized, as the word
      is used in the statutes that form the basis for Plaintiff’s cause of action, to perform the
      specified actions. Please confirm you will provide an amended response to these requests.

      We also explained that RFA No. 5 was asking whether Plaintiff accessed or attempted to
      access accounts belonging to Plaintiff after July 6, 2020 (not after July 7, 2020). Please
      confirm you will provide an amended response to this request.

      We discussed SROG No. 6 & 7. You argued the objections were proper because these were
      based on the California form interrogatories and are not proper in federal court. You offered
      to respond if we agreed these would count for multiple interrogatories.

Please provide Mr. An’s second amended responses to RFP Nos. 3, 7, SROG No. 2, and (assuming you
agree) RFA Nos 4–6, please do so by July 15, 2022 (i.e., three weeks from our conversation).

We then discussed the basis for Defendant’s RFPs. In summary, you argued this information was
        Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 41 of 149


relevant for two reasons: 1) to show Defendant was not actually terminated and thus was authorized
to access the accounts; and 2) that Trustlabs terminated Defendant’s employment in order to
prevent him from issuing a refund to token-holders and to prevent him from disclosing information,
which would show that Trustlabs had unclean hands.
       Regarding the first category, I explained we would produce all non-privileged documents that
       referred to the termination of Defendants’ employment, the reasons for the termination, and
       any documents that were considered or relied upon when making that decision. We will also
       produce documents evincing the logistics of the termination and the emergency board
       meeting. I agreed to determine whether it would be possible to produce all documents
       where someone raised a concern about An and, if the scope of this request is not overly
       burdensome, agreed to produce these documents. Please confirm this resolves the first
       issue.
       Regarding the second issue, I asked you to send us any relevant authority that supported this
       theory, i.e., where a Court held a party was not liable for violating 18 U.S.C. § 1030, 18 U.S.C.
       § 2701, or Cal. Pen. code § 502 because of the victim’s unclean hands.

We discussed the challenges with collecting and producing documents from the different data
sources the parties used to communicate with each other and third parties. We agreed to make
efforts to provide responsive documents as promptly as possible.

Regards,
Galen

Galen P. Sallomi
(He, Him, His)
SV Employment Law Firm PC

160 Bovet Road, Suite 401
San Mateo, CA 94402
gsallomi@svelf.com
tel: (650) 265-0222; cell: (415) 940-5998
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information.
Any unauthorized review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please contact
the sender by reply email and destroy all copies of the original message.
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 42 of 149




   EXHIBIT E
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 43 of 149
        Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 44 of 149


Daniel Jaiyong An
December 5, 2022
Page 2


communications you had with any third parties in which you discussed TrustLabs’ business or
attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i.e., the date of your
termination). We also explained to Mr. Takenouchi that TrustLabs is aware that, following your
removal as CEO, you continued to communicate with TrustLabs’ investors (i.e., individuals and
entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on behalf of
the company.

       Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm
you will conduct such a search for, and will produce, all relevant documents by no later than two
weeks from the date of this letter.

Requests for Admissions Nos. 4 and 6

         Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used
in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to which you had previously objected as
vague and ambiguous. We explained that we were seeking your legal position on whether you
were authorized, as the word is used in the statutes that form the bases for TrustLabs’ causes of
action, 1 to perform the specified actions.

        Please provide amended responses to these requests by no later than two weeks from the
date of this letter.

Request for Admissions No. 5

        We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission
No. 5 asks whether you accessed or attempted to access accounts belonging to TrustLabs after
July 6, 2020 (and not, as your response provides, after July 7, 2020).

        Please provide an amended response to this request by no later than two weeks from the
date of this letter.

Special Interrogatories Nos. 6 and 7.

       In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to
provide further responses to these interrogatories, provided that we agreed these would count for
multiple interrogatories.

      With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be
deemed a separate interrogatory with respect to your responses to each of TrustLabs’ Requests
for Admission that is not an unqualified admission. For instance, your response with respect to
1
 See 18 U.S.C. § 1030 (TrustLabs’ first cause of action); 18 U.S.C. § 2701 (TrustLabs’ second cause of action);
Cal. Penal Code, § 502 (TrustLabs’ third cause of action).

                          Borel Financial Center • 160 Bovet Road, Suite 401 • San Mateo, CA 94402
                                                        www.svelf.com
       Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 45 of 149


Daniel Jaiyong An
December 5, 2022
Page 3


Request for Admission No. 2, inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would
constitute a response to a separate special interrogatory.

        At present, you have provided answers that are not unqualified admissions to TrustLabs’
Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as discussed above, that number may be
subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and
6). Accordingly, under our proposal, your responses to Special Interrogatory No. 6 with respect
to each such Request for Admission would constitute a total of five separate special interrogatories.

        We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such
that your response with respect to each affirmative defense raised in your Answer, inclusive of
subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special
interrogatory.

        You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response
to Special Interrogatory No. 7, (a)-(c), with respect to each such affirmative defense would
constitute a total of 11 separate special interrogatories.

        Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of
the foregoing proposal by no later than two weeks from the date of this letter.

Conclusion

       Thank you for your attention to this matter, and we look forward to your response. As
noted above, we request your responses by no later than two weeks from the date of this letter, on
Monday, December 19, 2022.

Sincerely,



Carl J. Kaplan
SV EMPLOYMENT LAW FIRM PC

cc:    Steven L. Friedlander, Esq.




                       Borel Financial Center • 160 Bovet Road, Suite 401 • San Mateo, CA 94402
                                                     www.svelf.com
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 46 of 149




                       EXHIBIT 1
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 47 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 48 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 49 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 50 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 51 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 52 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 53 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 54 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 55 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 56 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 57 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 58 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 59 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 60 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 61 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 62 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 63 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 64 of 149
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 65 of 149




                       EXHIBIT 2
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 66 of 149



                     1   KASOWITZ BENSON TORRES LLP
                         Jason S. Takenouchi (SBN 234835)
                     2   101 California Street, Suite 3000
                         San Francisco, California 94111
                     3   Telephone:     (415) 421-6140
                         Facsimile:     (415) 398-5030
                     4   JTakenouchi@kasowitz.com

                     5   Attorneys for Defendant
                         DANIEL JAIYONG AN
                     6

                     7

                     8                                 UNITED STATES DISTRICT COURT
                     9                             NORTHERN DISTRICT OF CALIFORNIA
                    10

                    11   TRUSTLABS, INC., a Delaware Corporation,         Case No. 3:21-cv-02606-CRB

                    12                    Plaintiff,                      DEFENDANT’S AMENDED
                                                                          RESPONSES AND OBJECTIONS TO
                    13         v.                                         PLAINTIFF’S INTERROGATORIES
                                                                          (SET ONE)
                    14   DANIEL JAIYONG AN,
                                                                          Dept:       6
                    15                    Defendant.                      Judge:      Charles R. Breyer
                                                                          Trial Date: TBA
                    16                                                    Date Action Filed: April 4, 2021

                    17

                    18
                         PROPOUNDING PARTY:            Plaintiff TRUSTLABS, INC.
                    19
                         RESPONDING PARTY:             Defendant DANIEL JAIYONG AN
                    20
                         SET NUMBER:                   One
                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                                          Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                               DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 67 of 149



                     1          Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure (the “Federal Rules”),

                     2   and the Local Civil Rules for the Northern District of California (the “Local Rules”), defendant

                     3   Daniel Jaiyong An (“Defendant” or “Jaiyong An”) hereby submits his amended responses and

                     4   objections to plaintiff TrustLabs, Inc. (“Plaintiff” or “TrustLabs”) First Set of Interrogatories as

                     5   follows:

                     6                                    PRELIMINARY STATEMENT

                     7          1.      Defendant’s investigation and development of all facts and circumstances relating

                     8   to this action is ongoing. These responses and objections are made without prejudice to, and are

                     9   not a waiver of, Defendant’s right to rely on other facts or documents at trial.

                    10          2.      By making the accompanying responses and objections to Plaintiff’s requests and

                    11   interrogatories, Defendant does not waive, and hereby expressly reserves, his right to assert any

                    12   and all objections as to the admissibility of such responses into evidence in this action, or in any

                    13   other proceedings, on any and all grounds including, but not limited to, competency, relevancy,

                    14   materiality, and privilege. Further, Defendant makes the responses and objections herein without

                    15   in any way implying that he considers the requests and interrogatories, and responses to the

                    16   requests and interrogatories, to be relevant or material to the subject matter of this action.

                    17          3.      A response to a request or interrogatory stating and/or indicating that documents

                    18   will be produced shall not be deemed or construed to be a statement that there are, in fact,

                    19   responsive documents, that Defendant performed any of the acts described in the request,

                    20   interrogatory, or definitions and/or instructions applicable to the request or interrogatory, or that

                    21   Defendant acquiesces in the characterization of the conduct or activities contained in the request,

                    22   interrogatory, or definitions and/or instructions applicable to the request or interrogatory.

                    23          4.      Responding Party expressly reserves the right to supplement, clarify, revise, or

                    24   correct any or all of the responses and objections herein, and to assert additional objections or

                    25   privileges, in one or more subsequent supplemental response(s).

                    26                                       GENERAL OBJECTIONS

                    27          These General Objections to Plaintiff’s First Set of Interrogatories are incorporated in

                    28   each response below as if repeated and stated separately in each response.
KASOWITZ BENSON
  TORRES LLP                                                              2                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 68 of 149



                     1            1.    Defendant objects to each instruction, definition, request, and interrogatory to the

                     2   extent that it purports to impose any requirement or discovery obligation greater than or different

                     3   from those under the Federal Rules of Civil Procedure and the applicable Rules and Orders of the

                     4   Court.

                     5            2.    Defendant objects to each request and interrogatory that is overly broad, unduly

                     6   burdensome, or not reasonably calculated to lead to the discovery of admissible evidence.

                     7            3.    Defendant objects to each instruction, definition, request, and interrogatory to the

                     8   extent that it seeks documents protected from disclosure by the attorney-client privilege, attorney

                     9   work product doctrine, or any other applicable privilege. Should any such disclosure by

                    10   Defendant occur, it is inadvertent and shall not constitute a waiver of any privilege.

                    11            4.    Defendant objects to each instruction, definition, request, and interrogatory as

                    12   overbroad and unduly burdensome to the extent it seeks documents or information that are readily

                    13   or more accessible to Plaintiff from Plaintiff’s own files, or from documents or information in

                    14   Plaintiff’s possession. Responding to such requests and interrogatories would be oppressive,

                    15   unduly burdensome, and unnecessarily expensive, and the burden of responding to such requests

                    16   and interrogatories are substantially the same or less for Plaintiff as for Defendant.

                    17            5.    To the extent any of Plaintiff’s requests or interrogatories seek documents or

                    18   answers that include expert material, including but not limited to survey materials, Defendant

                    19   objects to any such requests and interrogatories as premature and expressly reserves the right to

                    20   supplement, clarify, revise, or correct any or all responses to such requests, and to assert

                    21   additional objections or privileges, in one or more subsequent supplemental response(s) in

                    22   accordance with the time period for exchanging expert reports set by the Court.

                    23            6.    Defendant incorporates by reference every general objection set forth above into

                    24   each specific response set forth below. A specific response may repeat a general objection for

                    25   emphasis or some other reason. The failure to include any general objection in any specific

                    26   response does not waive any general objection to that request. Moreover, Responding Party does

                    27   not waive his right to amend his responses.

                    28
KASOWITZ BENSON
  TORRES LLP                                                              3                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                  DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 69 of 149



                     1                              RESPONSES TO INTERROGATORIES

                     2   INTERROGATORY NO. 1:

                     3          IDENTIFY each PERSON who knew in advance that you would delete PLAINTIFF's

                     4   SLACK ACCOUNT.

                     5   RESPONSE TO INTERROGATORY NO. 1:

                     6          Defendant incorporates his General Objections by reference. Defendant objects to the

                     7   extent this Interrogatory seeks information that is not in Defendant’s knowledge—i.e., the identity

                     8   of everyone “who knew in advance,” regardless of whether Defendant was aware of that person’s

                     9   knowledge. Defendant will limit his response to only those individuals whom Defendant

                    10   currently recalls he informed of his plan to delete the Slack account.

                    11          Defendant objects to the term “Identify” to the extent it requests anything other than the

                    12   name of persons who are associated with Plaintiff.

                    13          Subject to and without waiver of the objections above, Defendant responds as follows:

                    14   Rafael Cosman. Defendant reserves the right to supplement or amend this response as discovery

                    15   commences.

                    16   INTERROGATORY NO. 2:

                    17          List each COMMUNICATION in which YOU held yourself out to be or represented that

                    18   you were affiliated with PLAINTIFF on or after July 6, 2020 and IDENTIFY each PERSON who

                    19   participated in such COMMUNICATIONS.

                    20   RESPONSE TO INTERROGATORY NO. 2:

                    21          Defendant incorporates his General Objections by reference. Defendant objects to this

                    22   interrogatory as vague to the extent it uses the undefined term “affiliated with.” Defendant will

                    23   define this term to mean “employed by.”

                    24          Subject to and without waiver of the objections above, Defendant responds as follows:

                    25   Defendant has no communications to disclose. Defendant reserves the right to supplement or

                    26   amend this response as discovery commences.

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                             4                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 70 of 149



                     1   INTERROGATORY NO. 3:

                     2          Do you contend that you deleted PLAINTIFF's SLACK account on July 6, 2020 in order

                     3   to "transition TrustLabs’s online chat communications from a paid subscription service to a no-

                     4   cost option as a cost reduction measure"? If so, state each fact which you believe supports your

                     5   contention.

                     6   RESPONSE TO INTERROGATORY NO. 3:

                     7          Defendant incorporates his General Objections by reference. Defendant objects to this

                     8   interrogatory as premature to the extent it seeks “each fact” in support of the stated contention.

                     9   Defendant will respond based on his current knowledge, and reserves the right to supplement or

                    10   amend this response as discovery commences.

                    11          Subject to and without waiver of the objections above, Defendant responds as follows:

                    12   Defendant believed at the time he deleted the Slack account that one of the benefits of moving to

                    13   a no-cost option was the reduction of costs for the company. Defendant believed that Slack

                    14   charged or was planning to charge on a per-user basis. Defendant reserves the right to

                    15   supplement or amend this response as discovery commences.

                    16   INTERROGATORY NO. 4:

                    17          Do you contend that you were authorized to delete PLAINTIFF's SLACK account? If so,

                    18   state each fact which you believe supports your contention.

                    19   RESPONSE TO INTERROGATORY NO. 4:

                    20          Defendant incorporates his General Objections by reference. Defendant objects to this

                    21   interrogatory as premature to the extent it seeks “each fact” in support of the stated contention.

                    22   Defendant will respond based on his current knowledge, and reserves the right to supplement or

                    23   amend this response as discovery commences.

                    24          Subject to and without waiver of the objections above, Defendant responds as follows:

                    25   Defendant established and was the sole administrator of the Slack account. As president and

                    26   CEO of the company, and one of two board members at the time, Defendant was authorized to

                    27   make decisions about the company’s operations, including the Slack account. Defendant reserves

                    28   the right to supplement or amend this response as discovery commences.
KASOWITZ BENSON
  TORRES LLP                                                              5                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 71 of 149



                     1   INTERROGATORY NO. 5:

                     2            Do you contend that you were authorized to access any accounts belonging to

                     3   PLAINTIFF (including, without limitation, accounts with REDDIT or HUBSPOT) after

                     4   PLAINTIFF terminated YOUR employment on July 6, 2020? If so, state each fact which you

                     5   believe supports your contention.

                     6   RESPONSE TO INTERROGATORY NO. 5:

                     7            Defendant incorporates his General Objections by reference. Defendant objects to this

                     8   interrogatory as premature to the extent it seeks “each fact” in support of the stated contention.

                     9   Defendant will respond based on his current knowledge, and reserves the right to supplement or

                    10   amend this response as discovery commences.

                    11            Defendant objects to this interrogatory as unintelligible to the extent it is premised on

                    12   Plaintiff’s assertion that it “terminated YOUR employment on July 6, 2020.” In its complaint

                    13   Plaintiff asserts that the termination was July 7.

                    14            Subject to and without waiver of the objections above, Defendant responds as follows:

                    15   Defendant does not contend he was authorized to access the specified accounts after July 7, 2020,

                    16   if he had been properly terminated by Plaintiff on that date. Defendant has served discovery on

                    17   Plaintiff seeking documents concerning the purported termination on July 7. Defendant reserves

                    18   the right to supplement or amend this response as discovery commences.

                    19   INTERROGATORY NO. 6:

                    20            Is your response to each Request for Admission served with these interrogatories an

                    21   unqualified admission? If not, for each response that is not an unqualified admission: a) state the

                    22   number of the request; b) state all facts upon which you base your response; c) IDENTIFY all

                    23   PERSONS who have knowledge of those facts; and d) describe all DOCUMENTS and tangible

                    24   things that support your response and IDENTIFY each PERSON who has each DOCUMENT or

                    25   thing.

                    26   RESPONSE TO INTERROGATORY NO. 6A, 6B, 6C AND 6D:

                    27            Defendant incorporates his General Objections by reference. Defendant objects to this

                    28   interrogatory as premature to the extent it seeks “all facts,” “all Persons” and “All Documents.”
KASOWITZ BENSON
  TORRES LLP                                                                  6               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                  DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 72 of 149



                     1   Defendant’s response, if any, will be based on his current knowledge, and he reserves the right to

                     2   supplement or amend any response as discovery commences.

                     3          Defendant objects to this interrogatory as compound. It seeks information on a range of

                     4   Requests for Admission, and seeks different categories of information as to each Request for

                     5   Admission. Defendant will respond as to the first Request for Admission that is not an

                     6   unqualified admission, and will treat this interrogatory as four separate interrogatories (i.e., (A)

                     7   state all facts upon which you base your response; (B) IDENTIFY all PERSONS who have

                     8   knowledge of those facts; (C) describe all DOCUMENTS and tangible things that support your

                     9   response, and (D) IDENTIFY each PERSON who has each DOCUMENT or thing”).

                    10          Defendant objects to the term “Identify” to the extent it requests anything other than the

                    11   name of persons who are associated with Plaintiff.

                    12          Defendant objects to the extent this interrogatory seeks information protected by the

                    13   attorney-client privilege, the attorney work product doctrine, or any similar privilege or protection

                    14   from discovery.

                    15          Subject to and without waiver of the objections above, Defendant responds as follows:

                    16   Defendant’s response to Request for Admission No. 1 is not an unqualified admission. With

                    17   respect to Request for Admission No. 1, Defendant responds as follows:

                    18                 6A: Alex de Lorraine discussed holding a shareholder vote regarding Defendant’s

                    19                  role before he was informed of his purported termination. Defendant does not

                    20                  recall that the discussion focused on “reassigning YOUR duties.”

                    21                 6B: Alex de Lorraine, Rafael Cosman.

                    22                 6C: Defendant does not currently have documents to disclose.

                    23                 6D: Defendant is not aware whether the individuals listed in response to

                    24                  interrogatory 6B are in possession of documents responsive to this interrogatory.

                    25          Defendant reserves the right to supplement or amend this response as discovery

                    26   commences.

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                              7                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 73 of 149



                     1   INTERROGATORY NO. 7:

                     2          Identify each denial of a material allegation and each special or affirmative defense in

                     3   your pleadings and for each: (a) state all facts upon which you base the denial or special or

                     4   affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c)

                     5   describe all DOCUMENTS and tangible things that support your denial or special or affirmative

                     6   defense and IDENTIFY each PERSON who has each DOCUMENT or thing.

                     7   RESPONSE TO INTERROGATORY NO. 7:

                     8          Defendant incorporates his General Objections by reference. Defendant objects to this

                     9   interrogatory as premature to the extent it seeks “all facts,” “all Persons” and “All Documents.”

                    10   Defendant’s response, if any, will be based on his current knowledge, and he reserves the right to

                    11   supplement or amend any response as discovery commences.

                    12          Defendant objects to this interrogatory as compound. It seeks information on a range of

                    13   “material allegation[s]” and “each special or affirmative defense,” and seeks different categories

                    14   of information with respect to each.

                    15          Defendant objects to the term “Identify” to the extent it requests anything other than the

                    16   name of persons who are associated with Plaintiff.

                    17          Defendant objects to the extent this interrogatory seeks information protected by the

                    18   attorney-client privilege, the attorney work product doctrine, or any similar privilege or protection

                    19   from discovery.

                    20          Subject to and without waiver of the objections above, Defendant responds as follows:

                    21   Defendant is willing to meet and confer with Plaintiff about the scope of this interrogatory and

                    22   the number of interrogatories Plaintiff intends. Defendant reserves the right to supplement or

                    23   amend this response as discovery commences.

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                             8                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 74 of 149



                     1   Dated: May 12, 2022                        KASOWITZ BENSON TORRES LLP

                     2

                     3                                              By: /s/ Jason S. Takenouchi
                                                                        Jason S. Takenouchi
                     4
                                                                    Attorneys for Defendant
                     5                                              DANIEL JAIYONG AN
                     6

                     7

                     8

                     9

                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                    9                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                               DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 75 of 149



                     1                                            VERIFICATION

                     2          I, Daniel Jaiyong An, declare as follows:

                     3          I am the defendant in the above-captioned action. I have read the foregoing

                     4   DEFENDANT’S AMENDED RESPONSES AND OBJECTIONS TO PLAINTIFF’S

                     5   INTERROGATORIES (SET ONE). As to those matters of which I have personal knowledge, I

                     6   verify that they are true and correct. As to those matters of which I have no personal knowledge,

                     7   I am informed and to the best of my knowledge believe the matters therein to be true, and on that

                     8   ground allege that the matters stated therein are true.

                     9          I declare under penalty of perjury under the laws of the State of California that the

                    10   foregoing is true and correct. Executed at San Juan, Puerto Rico on this 11th day of May, 2022.

                    11

                    12
                                                                               Daniel Jaiyong An
                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                              10               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S INTERROGATORIES (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 76 of 149



                     1                                       CERTIFICATE OF SERVICE

                     2             I, Linda L. Rich, declare that I am employed by Kasowitz Benson Torres LLP, located in

                     3   the City and County of San Francisco, at the business address of 101 California Street, Suite

                     4   3000, San Francisco, California 94111. I am over the age of eighteen years and am not a party to

                     5   this matter.

                     6        On May 12, 2022, I served the following document(s):

                     7              DEFENDANT’S AMENDED RESPONSES AND OBJECTIONS TO
                                     PLAINTIFF’S INTERROGATORIES (SET ONE)
                     8

                     9             On the interested parties in this action as follows:
                    10                BY EMAIL. I caused the document(s) to be transmitted to the person(s) at the
                         electronic service address above.
                    11
                                     BY MAIL. I placed the above-documents in sealed envelope(s), with postage
                    12   thereon fully prepaid, for collection and mailing at San Francisco, California, following ordinary
                         business practices. I am readily familiar with the practices of Kasowitz Benson Torres LLP for
                    13   processing of correspondence, said practice being that in the ordinary course of business,
                         correspondence is deposited in the United States Postal Service the same day as it is placed for
                    14   processing.
                    15    STEVEN L. FRIEDLANDER                                  Attorneys for Plaintiff
                          GALEN P. SALLOMI                                       Trustlabs, Inc.
                    16    CARL KAPLAN
                          SV EMPLOYMENT LAW FIRM PC
                    17    160 Bovet Road, Suite 401
                          San Mateo, California 94402
                    18    Telephone: (650) 265-0222
                          Facsimile: (650) 265-0223
                    19    Email: sfriedlander@svelf.com
                                 gsallomi@svelf.com
                    20           ckaplan@svelf.com
                    21
                                   I declare under penalty of perjury that the foregoing is true and correct. Executed on
                    22
                         May 12, 2022, in San Francisco, California.
                    23

                    24

                    25
                                                                          _________________________________
                    26                                                          Linda L. Rich
                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                                 1                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                 CERTIFICATE OF SERVICE
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 77 of 149



                     1   KASOWITZ BENSON TORRES LLP
                         Jason S. Takenouchi (SBN 234835)
                     2   101 California Street, Suite 3000
                         San Francisco, California 94111
                     3   Telephone:     (415) 421-6140
                         Facsimile:     (415) 398-5030
                     4   JTakenouchi@kasowitz.com

                     5   Attorneys for Defendant
                         DANIEL JAIYONG AN
                     6

                     7

                     8                                   UNITED STATES DISTRICT COURT
                     9                              NORTHERN DISTRICT OF CALIFORNIA
                    10

                    11   TRUSTLABS, INC., a Delaware Corporation,             Case No. 3:21-cv-02606-CRB

                    12                      Plaintiff,                        DEFENDANT’S AMENDED
                                                                              RESPONSES AND OBJECTIONS TO
                    13          v.                                            PLAINTIFF’S REQUESTS FOR
                                                                              ADMISSION (SET ONE)
                    14   DANIEL JAIYONG AN,
                                                                              Dept:       6
                    15                      Defendant.                        Judge:      Charles R. Breyer
                                                                              Trial Date: TBA
                    16                                                        Date Action Filed: April 4, 2021

                    17
                         PROPOUNDING PARTY:              Plaintiff TRUSTLABS, INC.
                    18
                         RESPONDING PARTY:               Defendant DANIEL JAIYONG AN
                    19
                         SET NUMBER:                     One
                    20
                                Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure (the “Federal Rules”),
                    21
                         and the Local Civil Rules for the Northern District of California (the “Local Rules”), defendant
                    22
                         Daniel Jaiyong An (“Defendant” or “Jaiyong An”) hereby submits his amended responses and
                    23
                         objections to the First Set of Requests for Admission (the “Requests,” and each a “Request”)
                    24
                         from plaintiff TrustLabs, Inc. (“Plaintiff” or “TrustLabs”) as follows:
                    25
                                                          PRELIMINARY STATEMENT
                    26
                                1.      Defendant’s investigation and development of all facts and circumstances relating
                    27
                         to this action is ongoing. These responses and objections are made without prejudice to, and are
                    28
KASOWITZ BENSON
  TORRES LLP                                                                                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 78 of 149



                     1   not a waiver of, Defendant’s right to rely on other facts or documents at trial.

                     2            2.    By making the accompanying responses and objections to Plaintiff’s requests and

                     3   interrogatories, Defendant does not waive, and hereby expressly reserves, his right to assert any

                     4   and all objections as to the admissibility of such responses into evidence in this action, or in any

                     5   other proceedings, on any and all grounds including, but not limited to, competency, relevancy,

                     6   materiality, and privilege. Further, Defendant makes the responses and objections herein without

                     7   in any way implying that he considers the requests and interrogatories, and responses to the

                     8   requests and interrogatories, to be relevant or material to the subject matter of this action.

                     9            3.    Defendanty reserves the right to supplement, clarify, revise, or correct any or all of

                    10   the responses and objections herein, and to assert additional objections or privileges, in one or

                    11   more subsequent supplemental response(s).

                    12                                       GENERAL OBJECTIONS

                    13            1.    Defendant objects to each instruction, definition, request, and interrogatory to the

                    14   extent that it purports to impose any requirement or discovery obligation greater than or different

                    15   from those under the Federal Rules of Civil Procedure and the applicable Rules and Orders of the

                    16   Court.

                    17            2.    Defendant objects to each request and interrogatory that is overly broad, unduly

                    18   burdensome, or not reasonably calculated to lead to the discovery of admissible evidence.

                    19            3.    Defendant objects to each instruction, definition, request, and interrogatory to the

                    20   extent that it seeks documents protected from disclosure by the attorney-client privilege, attorney

                    21   work product doctrine, or any other applicable privilege. Should any such disclosure by

                    22   Defendant occur, it is inadvertent and shall not constitute a waiver of any privilege.

                    23            4.    To the extent any of Plaintiff’s requests or interrogatories seek documents or

                    24   answers that include expert material, Defendant objects to any such requests and interrogatories

                    25   as premature and expressly reserves the right to supplement, clarify, revise, or correct any or all

                    26   responses to such requests, and to assert additional objections or privileges, in one or more

                    27   subsequent supplemental response(s) in accordance with the time period for exchanging expert

                    28   reports set by the Court.
KASOWITZ BENSON
  TORRES LLP                                                              2                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 79 of 149



                     1                         RESPONSES TO REQUESTS FOR ADMISSION

                     2   REQUEST FOR ADMISSION NO. 1:

                     3          Admit that YOU and PLAINTIFF discussed reassigning YOUR duties as CEO and

                     4   President to Rafael Cosman and/or Alex de Lorraine.

                     5   RESPONSE TO REQUEST FOR ADMISSION NO. 1:

                     6          Defendant incorporates his General Objections by reference.

                     7          Defendant objects to this request as compound to the extent it uses the term “and/or.”

                     8   Defendant will treat this request as stating “and” rather than “and/or.”

                     9          Defendant objects to this request as vague and unduly burdensome to the extent it uses the

                    10   undefined phrase “reassigning YOUR duties.” Defendant will interpret this to mean a full

                    11   reassignment of all duties that Defendant had as CEO and President.

                    12          Subject to and without waiver of the objections above, Defendant responds as follows:

                    13   Denied.

                    14   REQUEST FOR ADMISSION NO. 2:

                    15          Admit that YOU agreed to provide a letter of employment resignation to PLAINTIFF by 4

                    16   p.m. Pacific Time on Monday, July 6, 2020.

                    17   RESPONSE TO REQUEST FOR ADMISSION NO. 2:

                    18          Defendant incorporates his General Objections by reference. Defendant objects to this

                    19   request as ambiguous to the extent it could be interpreted as asking whether he made the specified

                    20   agreement “on Monday, July 6.” Defendant will interpret the request as asking whether he made

                    21   the specified agreement at some before 4 p.m. Pacific Time on Monday, July 6, 2020, and

                    22   whether that agreement was that he would provide a resignation letter by 4 p.m. Pacific Time on

                    23   Monday, July 6, 2020.

                    24          Subject to and without waiver of the objections above, Defendant responds as follows:

                    25   Denied.

                    26   REQUEST FOR ADMISSION NO. 3:

                    27          Admit that YOU deleted PLAINTIFF's SLACK ACCOUNT on July 6, 2020.

                    28
KASOWITZ BENSON
  TORRES LLP                                                              3                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 80 of 149



                     1   RESPONSE TO REQUEST FOR ADMISSION NO. 3:

                     2          Defendant incorporates his General Objections by reference.

                     3          Subject to and without waiver of the objections above, Defendant responds as follows:

                     4   Admitted.

                     5   REQUEST FOR ADMISSION NO. 4:

                     6          Admit that YOU were not authorized to delete PLAINTIFF's SLACK ACCOUNT on July

                     7   6, 2020.

                     8   RESPONSE TO REQUEST FOR ADMISSION NO. 4:

                     9          Defendant incorporates his General Objections by reference.

                    10          Defendant objects to this request as vague and ambiguous to the extent it uses the

                    11   undefined term “authorized,” and to the extent that term could be construed to call for a legal

                    12   conclusion. Defendant will apply the common sense definition of “authorized” to this request.

                    13          Subject to and without waiver of the objections above, Defendant responds as follows:

                    14   Denied.

                    15   REQUEST FOR ADMISSION NO. 5:

                    16          Admit that YOU accessed or attempted to access accounts belonging to PLAINTIFF

                    17   (including, without limitation, accounts with REDDIT or HUBSPOT) after PLAINTIFF

                    18   terminated YOUR employment on July 6, 2020.

                    19   RESPONSE TO REQUEST FOR ADMISSION NO. 5:

                    20          Defendant incorporates his General Objections by reference.

                    21          Defendant objects to this request as compound to the extent it uses the term “or.”

                    22   Defendant will limit this request to “accessed,” and exclude the term “attempted to access.

                    23          Defendant objects to this request to the extent it misstates the date of his purported

                    24   termination. Defendant will interpret this request to focus on events after July 7, 2020, which is

                    25   the date Plaintiff claims he was terminated.

                    26          Subject to and without waiver of the objections above, Defendant responds as follows:

                    27   Denied.

                    28
KASOWITZ BENSON
  TORRES LLP                                                             4                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 81 of 149



                     1   REQUEST FOR ADMISSION NO. 6:

                     2          Admit that YOU were not authorized to access accounts belonging to PLAINTIFF

                     3   (including, without limitation, accounts with REDDIT or HUBSPOT) after PLAINTIFF

                     4   terminated YOUR employment on July 6, 2020.

                     5   RESPONSE TO REQUEST FOR ADMISSION NO. 6:

                     6          Defendant incorporates his General Objections by reference.

                     7          Defendant objects to this request as vague and ambiguous to the extent it uses the

                     8   undefined term “authorized,” and to the extent that term could be construed to call for a legal

                     9   conclusion. Defendant will apply the common sense definition of “authorized” to this request.

                    10          Defendant objects to this request to the extent it misstates the date of his purported

                    11   termination. Defendant will interpret this request to focus on events after July 7, 2020, which is

                    12   the date Plaintiff claims he was terminated.

                    13          Defendant objects to this request to the extent it assumes Defendant was notified of

                    14   Plaintiff’s purported termination of his employment on July 7, 2020.

                    15          Subject to and without waiver of the objections above, Defendant responds as follows:

                    16   Denied.

                    17

                    18   Dated: May 12, 2022                                 KASOWITZ BENSON TORRES LLP
                    19

                    20                                                       By:/s/ Jason S. Takenouchi
                                                                                 Jason S. Takenouchi
                    21
                                                                             Attorneys for Defendant
                    22                                                       DANIEL JAIYONG AN
                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                             5                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                            DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 82 of 149



                     1                                       CERTIFICATE OF SERVICE

                     2             I, Linda L. Rich, declare that I am employed by Kasowitz Benson Torres LLP, located in

                     3   the City and County of San Francisco, at the business address of 101 California Street, Suite

                     4   3000, San Francisco, California 94111. I am over the age of eighteen years and am not a party to

                     5   this matter.

                     6        On May 12, 2022, I served the following document(s):

                     7              DEFENDANT’S AMENDED RESPONSES AND OBJECTIONS TO
                                     PLAINTIFF’S REQUESTS FOR ADMISSION (SET ONE)
                     8
                                   On the interested parties in this action as follows:
                     9
                                      BY EMAIL. I caused the document(s) to be transmitted to the person(s) at the
                    10   electronic service address above.
                    11               BY MAIL. I placed the above-documents in sealed envelope(s), with postage
                         thereon fully prepaid, for collection and mailing at San Francisco, California, following ordinary
                    12   business practices. I am readily familiar with the practices of Kasowitz Benson Torres LLP for
                         processing of correspondence, said practice being that in the ordinary course of business,
                    13   correspondence is deposited in the United States Postal Service the same day as it is placed for
                         processing.
                    14

                    15    STEVEN L. FRIEDLANDER                                  Attorneys for Plaintiff
                          GALEN P. SALLOMI                                       Trustlabs, Inc.
                    16    CARL KAPLAN
                          SV EMPLOYMENT LAW FIRM PC
                    17    160 Bovet Road, Suite 401
                          San Mateo, California 94402
                    18    Telephone: (650) 265-0222
                          Facsimile: (650) 265-0223
                    19    Email: sfriedlander@svelf.com
                                 gsallomi@svelf.com
                    20           ckaplan@svelf.com
                    21
                                   I declare under penalty of perjury that the foregoing is true and correct. Executed on
                    22
                         May 12, 2022, in San Francisco, California.
                    23

                    24

                    25
                                                                          _________________________________
                    26                                                          Linda L. Rich
                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                                 1                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                 CERTIFICATE OF SERVICE
                             Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 83 of 149



                     1   KASOWITZ BENSON TORRES LLP
                         Jason S. Takenouchi (SBN 234835)
                     2   101 California Street, Suite 3000
                         San Francisco, California 94111
                     3   Telephone:     (415) 421-6140
                         Facsimile:     (415) 398-5030
                     4   JTakenouchi@kasowitz.com

                     5   Attorneys for Defendant
                         DANIEL JAIYONG AN
                     6

                     7

                     8                                    UNITED STATES DISTRICT COURT
                     9                               NORTHERN DISTRICT OF CALIFORNIA
                    10

                    11   TRUSTLABS, INC., a Delaware Corporation,              Case No. 3:21-cv-02606-CRB

                    12                       Plaintiff,                        DEFENDANT’S AMENDED
                                                                               RESPONSES AND OBJECTIONS TO
                    13            v.                                           PLAINTIFF’S REQUESTS FOR
                                                                               PRODUCTION OF DOCUMENTS (SET
                    14   DANIEL JAIYONG AN,                                    ONE)

                    15                       Defendant.                        Dept:       6
                                                                               Judge:      Charles R. Breyer
                    16                                                         Trial Date: TBA
                                                                               Date Action Filed: April 4, 2021
                    17

                    18   PROPOUNDING PARTY:               Plaintiff TRUSTLABS, INC.

                    19   RESPONDING PARTY:                Defendant DANIEL JAIYONG AN

                    20   SET NUMBER:                      One

                    21            Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (the “Federal Rules”),

                    22   and the Local Civil Rules for the Northern District of California (the “Local Rules”), defendant

                    23   Daniel Jaiyong An (“Defendant” or “Jaiyong An”) hereby submits his amended responses and

                    24   objections to plaintiff TrustLabs, Inc.’s (“Plaintiff” or “TrustLabs”) First Set of Requests for

                    25   Production of Documents (the “Requests,” and each a “Request”) as follows:

                    26   :

                    27                                     PRELIMINARY STATEMENT

                    28            1.     Defendant’s investigation and development of all facts and circumstances relating
KASOWITZ BENSON
  TORRES LLP                                                                                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                              DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 84 of 149



                     1   to this action is ongoing. These responses and objections are made without prejudice to, and are

                     2   not a waiver of, Defendant’s right to rely on other facts or documents at trial.

                     3            2.     By making the accompanying responses and objections to Plaintiff’s requests and

                     4   interrogatories, Defendant does not waive, and hereby expressly reserves, his right to assert any

                     5   and all objections as to the admissibility of such responses into evidence in this action, or in any

                     6   other proceedings, on any and all grounds including, but not limited to, competency, relevancy,

                     7   materiality, and privilege. Further, Defendant makes the responses and objections herein without

                     8   in any way implying that he considers the requests and interrogatories, and responses to the

                     9   requests and interrogatories, to be relevant or material to the subject matter of this action.

                    10            3.     A response to a request or interrogatory stating and/or indicating that documents

                    11   will be produced shall not be deemed or construed to be a statement that there are, in fact,

                    12   responsive documents, that Defendant performed any of the acts described in the request,

                    13   interrogatory, or definitions and/or instructions applicable to the request or interrogatory, or that

                    14   Defendant acquiesces in the characterization of the conduct or activities contained in the request,

                    15   interrogatory, or definitions and/or instructions applicable to the request or interrogatory.

                    16            4.     Responding Party expressly reserves the right to supplement, clarify, revise, or

                    17   correct any or all of the responses and objections herein, and to assert additional objections or

                    18   privileges, in one or more subsequent supplemental response(s).

                    19                                       GENERAL OBJECTIONS

                    20            These General Objections to Plaintiff’s First Set of Requests for Production of Documents

                    21   are incorporated in each response below as if repeated and stated separately in each response.

                    22            1.     Defendant objects to each instruction, definition, request, and interrogatory to the

                    23   extent that it purports to impose any requirement or discovery obligation greater than or different

                    24   from those under the Federal Rules of Civil Procedure and the applicable Rules and Orders of the

                    25   Court.

                    26            2.     Defendant objects to each request and interrogatory that is overly broad, unduly

                    27   burdensome, or not reasonably calculated to lead to the discovery of admissible evidence.

                    28            3.     Defendant objects to each instruction, definition, request, and interrogatory to the
KASOWITZ BENSON
  TORRES LLP                                                              2                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 85 of 149



                     1   extent that it seeks documents protected from disclosure by the attorney-client privilege, attorney

                     2   work product doctrine, or any other applicable privilege. Should any such disclosure by

                     3   Defendant occur, it is inadvertent and shall not constitute a waiver of any privilege.

                     4          4.      Defendant objects to each instruction, definition, request, and interrogatory as

                     5   overbroad and unduly burdensome to the extent it seeks documents or information that are readily

                     6   or more accessible to Plaintiff from Plaintiff’s own files, or from documents or information in

                     7   Plaintiff’s possession. Responding to such requests and interrogatories would be oppressive,

                     8   unduly burdensome, and unnecessarily expensive, and the burden of responding to such requests

                     9   and interrogatories are substantially the same or less for Plaintiff as for Defendant.

                    10          5.      To the extent any of Plaintiff’s requests or interrogatories seek documents or

                    11   answers that include expert material, including but not limited to survey materials, Defendant

                    12   objects to any such requests and interrogatories as premature and expressly reserves the right to

                    13   supplement, clarify, revise, or correct any or all responses to such requests, and to assert

                    14   additional objections or privileges, in one or more subsequent supplemental response(s) in

                    15   accordance with the time period for exchanging expert reports set by the Court.

                    16          6.      Defendant incorporates by reference every general objection set forth above into

                    17   each specific response set forth below. A specific response may repeat a general objection for

                    18   emphasis or some other reason. The failure to include any general objection in any specific

                    19   response does not waive any general objection to that request. Moreover, Responding Party does

                    20   not waive his right to amend his responses.

                    21                        RESPONSES TO REQUESTS FOR PRODUCTION

                    22   REQUEST FOR PRODUCTION NO. 1:

                    23          All DOCUMENTS and COMMUNICATIONS REFERRING TO PLAINTIFF'S SLACK

                    24   ACCOUNT during the period of September 1, 2019 to September 1, 2020.

                    25   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

                    26          Defendant incorporates his General Objections by reference.

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                              3                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 86 of 149



                     1          Defendant objects to this request as vague and ambiguous due to the use of the phrase

                     2   “during the period.” Defendant will limit his reasonable search, if any, to documents generated

                     3   between September 1, 2019, and September 1, 2020.

                     4          Defendant objects to this request to the extent it seeks the collection of documents that are

                     5   more accessible to Plaintiff than to Defendant.

                     6          Defendant objects to this request to the extent it seeks the production of documents

                     7   protected by the work product doctrine and/or attorney-client privilege, or any other protection or

                     8   privilege from discovery.

                     9          Subject to and without waiver of the objections above, Defendant responds as follows:

                    10   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    11   documents. Defendant reserves the right to supplement or amend this response as discovery

                    12   commences.

                    13   REQUEST FOR PRODUCTION NO. 2:

                    14          All COMMUNICATIONS between YOU and any SLACK employee REFERRING TO

                    15   PLAINTIFF's SLACK ACCOUNT during the period of January 1, 2020 to September 1, 2020.

                    16   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

                    17          Defendant incorporates his General Objections by reference.

                    18          Defendant objects to this request as vague and ambiguous due to the use of the phrase

                    19   “during the period.” Defendant will limit his reasonable search, if any, to documents generated

                    20   between September 1, 2019, and September 1, 2020.

                    21          Defendant objects to this request to the extent it seeks the collection of documents that are

                    22   more accessible to Plaintiff than to Defendant.

                    23          Defendant objects to this request to the extent it seeks the production of documents

                    24   protected by the work product doctrine and/or attorney-client privilege, or any other protection or

                    25   privilege from discovery.

                    26          Subject to and without waiver of the objections above, Defendant responds as follows:

                    27   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    28
KASOWITZ BENSON
  TORRES LLP                                                               4               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 87 of 149



                     1   documents. Defendant reserves the right to supplement or amend this response as discovery

                     2   commences.

                     3   REQUEST FOR PRODUCTION NO. 3:

                     4          DOCUMENTS sufficient to list each time YOU attempted to access any accounts

                     5   belonging to PLAINTIFF (including, without limitation, accounts with REDDIT or HUBSPOT)

                     6   during the period of July 6, 2020 to September 1, 2020.

                     7   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

                     8          Defendant incorporates his General Objections by reference.

                     9          Defendant objects to this request as vague and ambiguous due to the use of the phrase

                    10   “during the period.” Defendant will limit his reasonable search, if any, to documents generated

                    11   between July 6, 2020, and September 1, 2020.

                    12          Defendant objects to this request as vague and ambiguous due to the use of the phrase

                    13   “sufficient to list.” Defendant’s reasonable search, if any, will be limited to documents showing

                    14   “attempt[s] to access” the specified accounts.

                    15          Defendant objects to this request to the extent it seeks the collection of documents that are

                    16   more accessible to Plaintiff than to Defendant.

                    17          Defendant objects to this request to the extent it seeks the production of documents

                    18   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    19   privilege from discovery.

                    20          Subject to and without waiver of the objections above, Defendant responds as follows:

                    21   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    22   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    23   discovery commences.

                    24   REQUEST FOR PRODUCTION NO. 4:

                    25          All DOCUMENTS and COMMUNICATIONS REFERRING TO the termination of

                    26   YOUR positions as PLAINTIFF's CEO and/or President and/or Board Member.

                    27   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

                    28          Defendant incorporates his General Objections by reference.
KASOWITZ BENSON
  TORRES LLP                                                               5                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 88 of 149



                     1           Defendant objects to this request as overbroad to the extent it does not contain a date

                     2   range. Defendant will limit his reasonable search, if any, to documents generated before the

                     3   initiation of this litigation.

                     4           Defendant objects to this request to the extent it seeks the collection of documents that are

                     5   more accessible to Plaintiff than to Defendant.

                     6           Defendant objects to this request to the extent it seeks the production of documents

                     7   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                     8   privilege from discovery.

                     9           Subject to and without waiver of the objections above, Defendant responds as follows:

                    10   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    11   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    12   discovery commences.

                    13   REQUEST FOR PRODUCTION NO. 5:

                    14           All DOCUMENTS and COMMUNICATIONS REFERRING TO the reassignment of

                    15   YOUR duties as PLAINTIFF's CEO, President and/or Board Member.

                    16   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

                    17           Defendant incorporates his General Objections by reference.

                    18           Defendant objects to this request as overbroad to the extent it does not contain a date

                    19   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    20   initiation of this litigation.

                    21           Defendant objects to this request as vague and ambiguous due to the use of the phrase

                    22   “reassignment of YOUR duties.” Defendant’s reasonable search, if any, will be limited to

                    23   documents referencing the full “reassignment” of all od Defendant’s duties.

                    24           Defendant objects to this request to the extent it seeks the collection of documents that are

                    25   more accessible to Plaintiff than to Defendant.

                    26           Defendant objects to this request to the extent it seeks the production of documents

                    27   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    28   privilege from discovery.
KASOWITZ BENSON
  TORRES LLP                                                               6                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 89 of 149



                     1           Subject to and without waiver of the objections above, Defendant responds as follows:

                     2   Defendant will perform a reasonable search and produce any responsive, non-privileged

                     3   documents, if any exist. . Defendant reserves the right to supplement or amend this response as

                     4   discovery commences.

                     5   REQUEST FOR PRODUCTION NO. 6:

                     6           All DOCUMENTS and COMMUNICATIONS REFERRING TO YOUR agreement to

                     7   provide PLAINTIFF with a resignation of employment letter by 4 p.m. Pacific Time on Monday,

                     8   July 6, 2020.

                     9   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

                    10           Defendant incorporates his General Objections by reference.

                    11           Defendant objects to this request as overbroad to the extent it does not contain a date

                    12   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    13   initiation of this litigation.

                    14           Defendant objects to this request to the extent it seeks the collection of documents that are

                    15   more accessible to Plaintiff than to Defendant.

                    16           Defendant objects to this request to the extent it seeks the production of documents

                    17   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    18   privilege from discovery.

                    19           Subject to and without waiver of the objections above, Defendant responds as follows:

                    20   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    21   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    22   discovery commences.

                    23   REQUEST FOR PRODUCTION NO. 7:

                    24           All DOCUMENTS and COMMUNICATIONS in which YOU held yourself out to be or

                    25   represented that you were affiliated with PLAINTIFF on or after July 6, 2020.

                    26   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

                    27           Defendant incorporates his General Objections by reference.

                    28
KASOWITZ BENSON
  TORRES LLP                                                               7                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 90 of 149



                     1           Defendant objects to this request as overbroad to the extent it does not contain a date

                     2   range. Defendant will limit his reasonable search, if any, to documents generated before the

                     3   initiation of this litigation.

                     4           Defendant objects to this request to the extent it seeks the collection of documents that are

                     5   more accessible to Plaintiff than to Defendant.

                     6           Defendant objects to this request to the extent it seeks the production of documents

                     7   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                     8   privilege from discovery.

                     9           Subject to and without waiver of the objections above, Defendant responds as follows:

                    10   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    11   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    12   discovery commences.

                    13   REQUEST FOR PRODUCTION NO. 8:

                    14           All DOCUMENTS and COMMUNICATIONS REFERRING TO the transition of

                    15   PLAINTIFF's online chat communications from a paid subscription service to no-cost options.

                    16   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

                    17           Defendant incorporates his General Objections by reference.

                    18           Defendant objects to this request as overbroad to the extent it does not contain a date

                    19   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    20   initiation of this litigation.

                    21           Defendant objects to this request to the extent it seeks the collection of documents that are

                    22   more accessible to Plaintiff than to Defendant.

                    23           Defendant objects to this request to the extent it seeks the production of documents

                    24   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    25   privilege from discovery.

                    26           Subject to and without waiver of the objections above, Defendant responds as follows:

                    27   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    28
KASOWITZ BENSON
  TORRES LLP                                                               8                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 91 of 149



                     1   documents. Defendant reserves the right to supplement or amend this response as discovery

                     2   commences.

                     3   REQUEST FOR PRODUCTION NO. 9:

                     4           All DOCUMENTS and COMMUNICATIONS REFERRING TO the transition of

                     5   PLAINTIFF's online chat communications from SLACK to other options.

                     6   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

                     7           Defendant incorporates his General Objections by reference.

                     8           Defendant objects to this request as overbroad to the extent it does not contain a date

                     9   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    10   initiation of this litigation.

                    11           Defendant objects to this request to the extent it seeks the collection of documents that are

                    12   more accessible to Plaintiff than to Defendant.

                    13           Defendant objects to this request to the extent it seeks the production of documents

                    14   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    15   privilege from discovery.

                    16           Subject to and without waiver of the objections above, Defendant responds as follows:

                    17   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    18   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    19   discovery commences.

                    20   REQUEST FOR PRODUCTION NO. 10:

                    21           All DOCUMENTS and COMMUNICATIONS purporting to give YOU authority to

                    22   delete PLAINTIFF’s SLACK ACCOUNT.

                    23   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

                    24           Defendant incorporates his General Objections by reference.

                    25           Defendant objects to this request as overbroad to the extent it does not contain a date

                    26   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    27   initiation of this litigation.

                    28
KASOWITZ BENSON
  TORRES LLP                                                               9                Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 92 of 149



                     1           Defendant objects to this request to the extent it seeks the collection of documents that are

                     2   more accessible to Plaintiff than to Defendant.

                     3           Defendant objects to this request to the extent it seeks the production of documents

                     4   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                     5   privilege from discovery.

                     6           Subject to and without waiver of the objections above, Defendant responds as follows:

                     7   Defendant will perform a reasonable search and produce any responsive, non-privileged

                     8   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                     9   discovery commences.

                    10   REQUEST FOR PRODUCTION NO. 11:

                    11           ALL DOCUMENTS that YOU identified in your responses to the special interrogatories,

                    12   served herewith.

                    13   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

                    14           Defendant incorporates his amended objections and responses to Plaintiff’s first set of

                    15   interrogatories.

                    16           Defendant incorporates his General Objections by reference.

                    17           Defendant objects to this request as overbroad to the extent it does not contain a date

                    18   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    19   initiation of this litigation.

                    20           Defendant objects to this request to the extent it seeks the collection of documents that are

                    21   more accessible to Plaintiff than to Defendant.

                    22           Defendant objects to this request to the extent it seeks the production of documents

                    23   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    24   privilege from discovery.

                    25           Subject to and without waiver of the objections above, Defendant responds as follows:

                    26   Defendant will perform a reasonable search and produce any responsive, non-privileged

                    27   documents, if any exist. Defendant reserves the right to supplement or amend this response as

                    28   discovery commences.
KASOWITZ BENSON
  TORRES LLP                                                               10               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 93 of 149



                     1   REQUEST FOR PRODUCTION NO. 12:

                     2           All DOCUMENTS and COMMUNICATIONS REFERRING TO any of the factual

                     3   events alleged in PLAINTIFF’s Complaint or YOUR Answer to PLAINTIFF’s Complaint.

                     4   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

                     5           Defendant incorporates his General Objections by reference.

                     6           Defendant objects to this request as overbroad to the extent it does not contain a date

                     7   range. Defendant will limit his reasonable search, if any, to documents generated before the

                     8   initiation of this litigation.

                     9           Defendant objects to this request to the extent it seeks the collection of documents that are

                    10   more accessible to Plaintiff than to Defendant.

                    11           Defendant objects to this request as overbroad and unduly burdensome.

                    12           Defendant objects to this request to the extent it seeks the production of documents

                    13   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                    14   privilege from discovery.

                    15           Subject to and without waiver of the objections above, Defendant responds as follows:

                    16   Defendant is willing to meet and confer with Plaintiff about a reasonable scope for this request.

                    17   Defendant reserves the right to supplement or amend this response as discovery commences.

                    18   REQUEST FOR PRODUCTION NO. 13:

                    19           All DOCUMENTS REFERRING TO PLAINTIFF that YOU have not returned to

                    20   PLAINTIFF as of the termination of YOUR employment by PLAINTIFF.

                    21   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

                    22           Defendant incorporates his General Objections by reference.

                    23           Defendant objects to this request as overbroad to the extent it does not contain a date

                    24   range. Defendant will limit his reasonable search, if any, to documents generated before the

                    25   initiation of this litigation.

                    26           Defendant objects to this request to the extent it seeks the collection of documents that are

                    27   more accessible to Plaintiff than to Defendant.

                    28
KASOWITZ BENSON
  TORRES LLP                                                               11               Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 94 of 149



                     1          Defendant objects to this request as overbroad and unduly burdensome to the extent it

                     2   seeks all documents “referring to plaintiff,” regardless of whether plaintiff has any cognizable

                     3   right to the return of such documents.

                     4          Defendant objects to this request to the extent it seeks the production of documents

                     5   protected by the work product doctrine, the attorney-client privilege, or any other protection or

                     6   privilege from discovery.

                     7          Subject to and without waiver of the objections above, Defendant responds as follows:

                     8   Defendant is willing to meet and confer with Plaintiff about a reasonable scope for this request.

                     9   Defendant reserves the right to supplement or amend this response as discovery commences.

                    10

                    11   Dated: May 12, 2022                                 KASOWITZ BENSON TORRES LLP
                    12

                    13                                                       By: /s/ Jason S. Takenouchi
                                                                                 Jason S. Takenouchi
                    14
                                                                             Attorneys for Defendant
                    15                                                       DANIEL JAIYONG AN
                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                            12                  Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                           DEFENDANT’S AMENDED RESPONSES TO PLAINTIFF’S REQUESTS FOR PRODUCTION (SET ONE)
                         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 95 of 149



                     1                                       CERTIFICATE OF SERVICE

                     2             I, Linda L. Rich, declare that I am employed by Kasowitz Benson Torres LLP, located in

                     3   the City and County of San Francisco, at the business address of 101 California Street, Suite

                     4   3000, San Francisco, California 94111. I am over the age of eighteen years and am not a party to

                     5   this matter.

                     6        On May 12, 2022, I served the following document(s):

                     7              DEFENDANT’S AMENDED RESPONSES AND OBJECTIONS TO
                                     PLAINTIFF’S REQUESTS FOR PRODUCTION OF DOCUMENTS (SET ONE)
                     8
                                   On the interested parties in this action as follows:
                     9
                                      BY EMAIL. I caused the document(s) to be transmitted to the person(s) at the
                    10   electronic service address above.
                    11               BY MAIL. I placed the above-documents in sealed envelope(s), with postage
                         thereon fully prepaid, for collection and mailing at San Francisco, California, following ordinary
                    12   business practices. I am readily familiar with the practices of Kasowitz Benson Torres LLP for
                         processing of correspondence, said practice being that in the ordinary course of business,
                    13   correspondence is deposited in the United States Postal Service the same day as it is placed for
                         processing.
                    14

                    15    STEVEN L. FRIEDLANDER                                  Attorneys for Plaintiff
                          GALEN P. SALLOMI                                       Trustlabs, Inc.
                    16    CARL KAPLAN
                          SV EMPLOYMENT LAW FIRM PC
                    17    160 Bovet Road, Suite 401
                          San Mateo, California 94402
                    18    Telephone: (650) 265-0222
                          Facsimile: (650) 265-0223
                    19    Email: sfriedlander@svelf.com
                                 gsallomi@svelf.com
                    20           ckaplan@svelf.com
                    21
                                   I declare under penalty of perjury that the foregoing is true and correct. Executed on
                    22
                         May 12, 2022, in San Francisco, California.
                    23

                    24

                    25
                                                                          _________________________________
                    26                                                          Linda L. Rich
                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                                 1                 Case No. 3:21-cv-02606-CRB
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                 CERTIFICATE OF SERVICE
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 96 of 149




    EXHIBIT F
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 97 of 149
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 98 of 149


This email message is for the so e use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, p ease contact the sender by reply email and destroy all copies of the original
message.


From: jai an <djan92@gmail com>
Sent: Friday, January 13, 2023 1:33 PM
To: Carl Kaplan <ckaplan@svelf com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses


CAUTION: EXTERNAL EMAIL

Hi Carl, thanks for emailing. Responses below above the "---" lines:

As noted in my below email, if we do not receive your inserts by noon today, we will need to file separately with the Court.
Additionally, it has come to our attention that your prior counsel did not provide your full address in his motion to withdraw –
we understand that “404 Ave De La Constitucion, San Juan, Puerto Rico 00901” (the address provided) is a condominium with
many units, and your prior counsel did not specify your unit. Regardless of whether you will be joining our case management
statement, please respond to this email by noon today with your unit number so that we may effect service of our statement.
Additionally, as I noted in my below email, please confirm if you will agree that electronic service (i.e., service via e-mail) will
be effective service for all purposes going forward in this matter.



Address Below:
Daniel An
27 Calle Orta 3D APT Cond Los Nardos A
San Juan Puerto Rico 00907
Puerto Rico

To clarify my prior email—and as it is already past noon in Puerto Rico—I refer to 12:00pm pacific time.

I thought you were referring to 3pm PT in the previous emails. Since you've changed the datetime, I've just registered to pacer for efiling to efile the CMC,
thanks:




---

I am writing for three reasons:

First, I write to follow up on my requests to schedule a telephonic meet and confer in this matter. As I have previously expressed, and given the upcoming
close of fact discovery, if you do not make yourself available for a meet and confer conference by January 18, 2023, we will need to seek recourse from
the Court. Additionally, we hope to discuss during our meet and confer correspondence your availability to sit for deposition in this matter. We are glad
to discuss scheduling and procedural issues further during a call, but unless you agree to a meet and confer call on a date certain between now and
January 19, 2023, we will need to seek Court guidance on this issue as well.
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 99 of 149



I am currently considering and discussing whether to continue to represent myself pro per. Since I am not aware of rules, I will take the fifth until
being made more aware. Thank you.
---

Second, as your prior counsel may have advised you, the parties have a deadline to submit case management statements to the court by this Friday,
January 13, 2023. Please see attached e-mail for reference. Pursuant to the Court’s local rules, and given that you are not represented by counsel, we
may either submit separate statements, or a joint statement. (See Local Rule 16-9(a).)   We have attached our draft statement; if you would like to submit
jointly, please (i) provide your inserts in the attached (in the sections designated “Defendant”) by no later than 12pm on January 13, 2023; and (ii) once
finalized, sign and return the document for filing by no later than 3pm on January 13, 2023 (or, confirm you consent to our affixing your typed /s/
signature, as set forth in the draft Filing Consent Certification on page 4 of the attached).

I will look into e-filing the above, when Pacer allows me to do so by accepting my e file registration.
---

Third, please confirm if you will agree that electronic service (i.e., service via e-mail) will be effective service for all purposes going forward in this matter.

Does this mean all correspondence occurs via email going forward? If so, yes.
---

Thank you for your attention to this matter. I look forward to receiving your response, as well as your availability for a meet and confer conference.




---

Request for Production No. 3

This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were
terminated as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you accessed
any relevant websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a search
for, and will produce, all relevant documents by no later than two weeks from the date of this letter.

Hi all devices with any browser history were sent to TrustLabs. Thanks.

Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6,
2020-September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020,
from devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

Please confirm you will update your response accordingly.

I take the fifth.
---

Request for Production No. 7; Special Interrogatory No. 2:
Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’ Request
for Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications you had with
any third parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i.e., the date of your
termination). We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to communicate with
TrustLabs’ investors (i.e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on behalf of the company.
Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all
relevant documents by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any
historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to be
or represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those
communications. Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those
communications (and identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in
TrustLabs’ possession. Please update your response accordingly.

Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for
Production No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff on
         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 100 of 149


or after July 6, 2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession,
custody, or control, you must produce such documents.

I take the fifth.
---

Requests for Admissions Nos. 4 and 6
Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to which
you had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized, as the
word is used in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
Please provide amended responses to these requests by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you. All
devices where there would be any historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to admit
(or deny) certain contentions.

For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No reference
to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.

Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for instance,
TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4, no reference
to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request

I take the fifth.
---

Request for Admissions No. 5
We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access accounts
belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
Please provide an amended response to this request by no later than two weeks from the date of this letter.

Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As
with TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a
supplemental response admitting or denying this request.

I take the fifth.
---


Special Interrogatories Nos. 6 and 7.
In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided that
we agreed these would count for multiple interrogatories.
With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your responses
to each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for Admission No.
2, inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as
discussed above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6). Accordingly,
under our proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a total of five
separate special interrogatories.
We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense
raised in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each such
affirmative defense would constitute a total of 11 separate special interrogatories.
Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the date
of this letter.

I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the
following (capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below,
but it may be more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.
         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 101 of 149


Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each response
that is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all PERSONS
who have knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each PERSON who has
each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to which
you have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all facts
upon which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all
DOCUMENTS and tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative defenses
in this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint, which I have
also attached for your reference.

I take the fifth.
---

On Wed, Jan 11 2023 at 6:06 PM, Carl Kaplan <ckaplan@svelf com> wrote:
 Dear Mr. An,

 I am writing for three reasons:

 First, I write to follow up on my requests to schedule a telephonic meet and confer in this matter. As I have previously expressed, and given the
 upcoming close of fact discovery, if you do not make yourself available for a meet and confer conference by January 18, 2023, we will need to seek
 recourse from the Court. Additionally, we hope to discuss during our meet and confer correspondence your availability to sit for deposition in this
 matter. We are glad to discuss scheduling and procedural issues further during a call, but unless you agree to a meet and confer call on a date certain
 between now and January 19, 2023, we will need to seek Court guidance on this issue as well.

 Second, as your prior counsel may have advised you, the parties have a deadline to submit case management statements to the court by this Friday,
 January 13, 2023. Please see attached e-mail for reference. Pursuant to the Court’s local rules, and given that you are not represented by counsel, we
 may either submit separate statements, or a joint statement. (See Local Rule 16-9(a).)   We have attached our draft statement; if you would like to
 submit jointly, please (i) provide your inserts in the attached (in the sections designated “Defendant”) by no later than 12pm on January 13, 2023; and
 (ii) once finalized, sign and return the document for filing by no later than 3pm on January 13, 2023 (or, confirm you consent to our affixing your typed
 /s/ signature, as set forth in the draft Filing Consent Certification on page 4 of the attached).

 Third, please confirm if you will agree that electronic service (i.e., service via e-mail) will be effective service for all purposes going forward in this matter.

 Thank you for your attention to this matter. I look forward to receiving your response, as well as your availability for a meet and confer conference.

 Best,

 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: Carl Kaplan
 Sent: Tuesday, January 10, 2023 1:38 PM
 To: jai an <djan92@gmail.com>
 Cc: Steven Friedlander <sfriedlander@svelf.com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 Thank you for the email, Mr. An. As stated below, please let me know your availability this week for a call on the issues raised in my prior
 correspondence.

 Best,

 Carl Kaplan
         Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 102 of 149


SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: jai an <djan92@gmail.com>
Sent: Monday, January 9, 2023 3:45 PM
To: Carl Kaplan <ckaplan@svelf.com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

CAUTION: EXTERNAL EMAIL
Hi coming back online from travels and vacation - catching up on emailing and can respond back




On Fri, Jan 6 2023 at 5:34 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 Following up on this—please let me know your availability next week (1/9/23-1/13/23) for a call to address the issues raised in my below emails. If we
 do not hear from you by the end of next week, we will need to seek guidance from the Court.

 Thank you in advance for your attention to this matter, and I look forward to hearing from you soon.

 Best,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privi eged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: Carl Kaplan
 Sent: Thursday, December 29, 2022 4:08 PM
 To: jai an <djan92@gmail.com>
 Cc: Steven Friedlander <sfriedlander@svelf.com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 Dear Mr. An:

 Thank you for your response email. I have responded in-line to each of your comments, below, in red ink. Please review and let me know when you are
 free to discuss between January 3, 2023 and January 9, 2023. I am also available tomorrow, December 30, 2022, if you have availability.

 Best,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 103 of 149


fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privi eged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: jai an <djan92@gmail.com>
Sent: Monday, December 19, 2022 3:02 PM
To: Carl Kaplan <ckaplan@svelf.com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

CAUTION: EXTERNAL EMAIL
Hi Carl, thanks for emailing. Responses below above the "---" lines:

Request for Production No. 3

This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were
terminated as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you
accessed any relevant websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a
search for, and will produce, all relevant documents by no later than two weeks from the date of this letter.

Hi all devices with any browser history were sent to TrustLabs. Thanks.

Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6,
2020-September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020,
from devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

Please confirm you will update your response accordingly.

---

Request for Production No. 7; Special Interrogatory No. 2:
Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’
Request for Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications
you had with any third parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i.e.,
the date of your termination). We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to
communicate with TrustLabs’ investors (i.e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on
behalf of the company.
Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all
relevant documents by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any
historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to
be or represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those
communications. Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those
communications (and identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in
TrustLabs’ possession. Please update your response accordingly.

Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for
Production No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff
on or after July 6, 2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession,
custody, or control, you must produce such documents.

---

Requests for Admissions Nos. 4 and 6
Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 104 of 149


which you had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized,
as the word is used in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
Please provide amended responses to these requests by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you.
All devices where there would be any historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to
admit (or deny) certain contentions.

For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No
reference to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.

Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for
instance, TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4,
no reference to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request

---

Request for Admissions No. 5
We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access
accounts belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
Please provide an amended response to this request by no later than two weeks from the date of this letter.

Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As
with TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a
supplemental response admitting or denying this request.


---

Special Interrogatories Nos. 6 and 7.
In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided
that we agreed these would count for multiple interrogatories.
With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your
responses to each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for
Admission No. 2, inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as
discussed above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6).
Accordingly, under our proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a
total of five separate special interrogatories.
We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense
raised in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each
such affirmative defense would constitute a total of 11 separate special interrogatories.
Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the
date of this letter.

I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the
following (capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below,
but it may be more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.

Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each
response that is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all
PERSONS who have knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each
PERSON who has each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to
which you have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all
facts upon which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 105 of 149


DOCUMENTS and tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or
thing.

As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative
defenses in this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint,
which I have also attached for your reference.


---




On Mon, Dec 12 2022 at 5:45 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 Following up on my below email (and attached correspondence) from December 5, 2022. Please confirm receipt thereof.

 Thank you,

 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, p ease contact the sender by reply email and destroy all copies of the original
 message.


 From: Carl Kaplan
 Sent: Monday, December 5, 2022 12:05 PM
 To: 'djan92@gmail.com' <djan92@gmail.com>
 Cc: Steven Friedlander <sfriedlander@svelf com>
 Subject: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 Dear Mr. An,

 Please see the attached correspondence. As stated therein, your response is requested by no later than Monday, December 19, 2022. I am available
 to discuss further in the interim if that would be helpful. Thank you for your attention to this matter.

 Sincerely,

 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, p ease contact the sender by reply email and destroy all copies of the original
 message.
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 106 of 149
        Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 107 of 149


160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use, disclosure
or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.


From: jai an <djan92@gmail.com>
Sent: Monday, January 30, 2023 5:32 AM
To: Carl Kaplan <ckaplan@svelf com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

CAUTION: EXTERNAL EMAIL
Hi Carl, I take the fifth. On availability: March 6-8 2023. I will be traveling abroad during February. Thank you.




On Sun, Jan 29 2023 at 12:10 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 As a final attempt to resolve this dispute without involving the court, please provide your availability to meet and confer this coming week by no later than
 5:00 p.m. Pacific time tomorrow (1/30/23). Additionally, as mentioned in my January 11, 2023 email, we intend to notice your deposition for February
 2023. Please confirm several days of your availability in this timeframe and we will select a mutually convenient deposition date. If you fail to provide
 your availability, we will notice your deposition for a date that works for us.

 I am available to discuss further and look forward to your prompt response.

 Thank you,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: jai an <djan92@gmail.com>
 Sent: Friday, January 13, 2023 1:33 PM
 To: Carl Kaplan <ckaplan@svelf.com>
 Cc: Steven Friedlander <sfriedlander@svelf com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

  CAUTION: EXTERNAL EMAIL
 Hi Carl, thanks for emailing. Responses below above the "---" lines:

 As noted in my below email, if we do not receive your inserts by noon today, we will need to file separately with the Court.
 Additionally, it has come to our attention that your prior counsel did not provide your full address in his motion to withdraw –
 we understand that “404 Ave De La Constitucion, San Juan, Puerto Rico 00901” (the address provided) is a condominium with
 many units, and your prior counsel did not specify your unit. Regardless of whether you will be joining our case management
 statement, please respond to this email by noon today with your unit number so that we may effect service of our statement.
 Additionally, as I noted in my below email, please confirm if you will agree that electronic service (i.e., service via e-mail) will
 be effective service for all purposes going forward in this matter.
       Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 108 of 149



Address Below:
Daniel An
27 Calle Orta 3D APT Cond Los Nardos A
San Juan Puerto Rico 00907
Puerto Rico

To clarify my prior email—and as it is already past noon in Puerto Rico—I refer to 12:00pm pacific time.

I thought you were referring to 3pm PT in the previous emails. Since you've changed the datetime, I've just registered to pacer for efiling to efile the CMC,
thanks:




---

I am writing for three reasons:

First, I write to follow up on my requests to schedule a telephonic meet and confer in this matter. As I have previously expressed, and given the upcoming
close of fact discovery, if you do not make yourself available for a meet and confer conference by January 18, 2023, we will need to seek recourse from
the Court. Additionally, we hope to discuss during our meet and confer correspondence your availability to sit for deposition in this matter. We are glad
to discuss scheduling and procedural issues further during a call, but unless you agree to a meet and confer call on a date certain between now and
January 19, 2023, we will need to seek Court guidance on this issue as well.

I am currently considering and discussing whether to continue to represent myself pro per. Since I am not aware of rules, I will take the fifth until
being made more aware. Thank you.
---

Second, as your prior counsel may have advised you, the parties have a deadline to submit case management statements to the court by this Friday,
January 13, 2023. Please see attached e-mail for reference. Pursuant to the Court’s local rules, and given that you are not represented by counsel, we
may either submit separate statements, or a joint statement. (See Local Rule 16-9(a).)   We have attached our draft statement; if you would like to submit
jointly, please (i) provide your inserts in the attached (in the sections designated “Defendant”) by no later than 12pm on January 13, 2023; and (ii) once
finalized, sign and return the document for filing by no later than 3pm on January 13, 2023 (or, confirm you consent to our affixing your typed /s/
signature, as set forth in the draft Filing Consent Certification on page 4 of the attached).

I will look into e-filing the above, when Pacer allows me to do so by accepting my e file registration.
---

Third, please confirm if you will agree that electronic service (i.e., service via e-mail) will be effective service for all purposes going forward in this matter.

Does this mean all correspondence occurs via email going forward? If so, yes.
---

Thank you for your attention to this matter. I look forward to receiving your response, as well as your availability for a meet and confer conference.
       Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 109 of 149



---

Request for Production No. 3

This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were
terminated as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you accessed
any relevant websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a search
for, and will produce, all relevant documents by no later than two weeks from the date of this letter.

Hi all devices with any browser history were sent to TrustLabs. Thanks.

Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6,
2020-September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020,
from devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

Please confirm you will update your response accordingly.

I take the fifth.
---

Request for Production No. 7; Special Interrogatory No. 2:
Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’ Request
for Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications you had with
any third parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i.e., the date of your
termination). We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to communicate with
TrustLabs’ investors (i.e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on behalf of the company.
Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all
relevant documents by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any
historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to be
or represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those
communications. Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those
communications (and identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in
TrustLabs’ possession. Please update your response accordingly.

Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for
Production No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff on
or after July 6, 2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession,
custody, or control, you must produce such documents.

I take the fifth.
---

Requests for Admissions Nos. 4 and 6
Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to which
you had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized, as the
word is used in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
Please provide amended responses to these requests by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you. All
devices where there would be any historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to admit
(or deny) certain contentions.

For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No reference
to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.
       Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 110 of 149



Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for instance,
TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4, no reference
to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request

I take the fifth.
---

Request for Admissions No. 5
We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access accounts
belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
Please provide an amended response to this request by no later than two weeks from the date of this letter.

Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As
with TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a
supplemental response admitting or denying this request.

I take the fifth.
---


Special Interrogatories Nos. 6 and 7.
In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided that
we agreed these would count for multiple interrogatories.
With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your responses
to each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for Admission No.
2, inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as
discussed above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6). Accordingly,
under our proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a total of five
separate special interrogatories.
We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense
raised in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each such
affirmative defense would constitute a total of 11 separate special interrogatories.
Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the date
of this letter.

I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the
following (capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below,
but it may be more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.

Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each response
that is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all PERSONS
who have knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each PERSON who has
each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to which
you have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all facts
upon which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all
DOCUMENTS and tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative defenses
in this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint, which I have
also attached for your reference.

I take the fifth.
---

On Wed, Jan 11 2023 at 6:06 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 I am writing for three reasons:
        Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 111 of 149


First, I write to follow up on my requests to schedule a telephonic meet and confer in this matter. As I have previously expressed, and given the
upcoming close of fact discovery, if you do not make yourself available for a meet and confer conference by January 18, 2023, we will need to seek
recourse from the Court. Additionally, we hope to discuss during our meet and confer correspondence your availability to sit for deposition in this
matter. We are glad to discuss scheduling and procedural issues further during a call, but unless you agree to a meet and confer call on a date certain
between now and January 19, 2023, we will need to seek Court guidance on this issue as well.

Second, as your prior counsel may have advised you, the parties have a deadline to submit case management statements to the court by this Friday,
January 13, 2023. Please see attached e-mail for reference. Pursuant to the Court’s local rules, and given that you are not represented by counsel, we
may either submit separate statements, or a joint statement. (See Local Rule 16-9(a).)   We have attached our draft statement; if you would like to
submit jointly, please (i) provide your inserts in the attached (in the sections designated “Defendant”) by no later than 12pm on January 13, 2023; and
(ii) once finalized, sign and return the document for filing by no later than 3pm on January 13, 2023 (or, confirm you consent to our affixing your typed
/s/ signature, as set forth in the draft Filing Consent Certification on page 4 of the attached).

Third, please confirm if you will agree that electronic service (i e., service via e-mail) will be effective service for all purposes going forward in this matter.

Thank you for your attention to this matter. I look forward to receiving your response, as well as your availability for a meet and confer conference.

Best,

Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: Carl Kaplan
Sent: Tuesday, January 10, 2023 1:38 PM
To: jai an <djan92@gmail.com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

Thank you for the email, Mr. An. As stated below, please let me know your availability this week for a call on the issues raised in my prior
correspondence.

Best,

Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: jai an <djan92@gmail com>
Sent: Monday, January 9, 2023 3:45 PM
To: Carl Kaplan <ckaplan@svelf.com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

CAUTION: EXTERNAL EMAIL
Hi coming back online from travels and vacation - catching up on emailing and can respond back
     Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 112 of 149


On Fri, Jan 6 2023 at 5:34 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 Following up on this—please let me know your availability next week (1/9/23-1/13/23) for a call to address the issues raised in my below emails. If we
 do not hear from you by the end of next week, we will need to seek guidance from the Court.

 Thank you in advance for your attention to this matter, and I look forward to hearing from you soon.

 Best,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: Carl Kaplan
 Sent: Thursday, December 29, 2022 4:08 PM
 To: jai an <djan92@gmail com>
 Cc: Steven Friedlander <sfriedlander@svelf.com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 Dear Mr. An:

 Thank you for your response email. I have responded in-line to each of your comments, below, in red ink. Please review and let me know when you are
 free to discuss between January 3, 2023 and January 9, 2023. I am also available tomorrow, December 30, 2022, if you have availability.

 Best,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: jai an <djan92@gmail.com>
 Sent: Monday, December 19, 2022 3:02 PM
 To: Carl Kaplan <ckaplan@svelf.com>
 Cc: Steven Friedlander <sfriedlander@svelf.com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 CAUTION: EXTERNAL EMAIL
 Hi Carl, thanks for emailing. Responses below above the "---" lines:

 Request for Production No. 3

 This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were
 terminated as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you
 accessed any relevant websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
 Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 113 of 149


search for, and will produce, all relevant documents by no later than two weeks from the date of this letter.

Hi all devices with any browser history were sent to TrustLabs. Thanks.

Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6,
2020-September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020,
from devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

Please confirm you will update your response accordingly.

---

Request for Production No. 7; Special Interrogatory No. 2:
Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’
Request for Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications
you had with any third parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i.e.,
the date of your termination). We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to
communicate with TrustLabs’ investors (i.e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on
behalf of the company.
Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all
relevant documents by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any
historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to
be or represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those
communications. Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those
communications (and identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in
TrustLabs’ possession. Please update your response accordingly.

Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for
Production No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff
on or after July 6, 2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession,
custody, or control, you must produce such documents.

---

Requests for Admissions Nos. 4 and 6
Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to
which you had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized,
as the word is used in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
Please provide amended responses to these requests by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you.
All devices where there would be any historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to
admit (or deny) certain contentions.

For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No
reference to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.

Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for
instance, TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4,
no reference to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request

---

Request for Admissions No. 5
We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access
accounts belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
Please provide an amended response to this request by no later than two weeks from the date of this letter.
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 114 of 149



Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As
with TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a
supplemental response admitting or denying this request.


---

Special Interrogatories Nos. 6 and 7.
In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided
that we agreed these would count for multiple interrogatories.
With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your
responses to each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for
Admission No. 2, inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as
discussed above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6).
Accordingly, under our proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a
total of five separate special interrogatories.
We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense
raised in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each
such affirmative defense would constitute a total of 11 separate special interrogatories.
Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the
date of this letter.

I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the
following (capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below,
but it may be more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.

Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each
response that is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all
PERSONS who have knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each
PERSON who has each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to
which you have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all
facts upon which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all
DOCUMENTS and tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or
thing.

As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative
defenses in this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint,
which I have also attached for your reference.


---




On Mon, Dec 12 2022 at 5:45 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 Following up on my below email (and attached correspondence) from December 5, 2022. Please confirm receipt thereof.

 Thank you,

 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com
  Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 115 of 149




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: Carl Kaplan
Sent: Monday, December 5, 2022 12:05 PM
To: 'djan92@gmail.com' <djan92@gmail.com>
Cc: Steven Friedlander <sfriedlander@svelf com>
Subject: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

Dear Mr. An,

Please see the attached correspondence. As stated therein, your response is requested by no later than Monday, December 19, 2022. I am available
to discuss further in the interim if that would be helpful. Thank you for your attention to this matter.

Sincerely,

Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 116 of 149
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 117 of 149




I am happy to follow rules; however for any compelled speech, behavior, or action, it would require a citation to the rule as written in law, as well explicit
confirmation and documentation that forced/compelled behavior or speech is being required by law.

Could you please provide the Initial Disclosures document referenced below (along with the "Required Content" and any changes along the way from the
initial disclosures):




I've attached an example of the Initial Disclosures provided by the Court.


Updated responses below:

Request for Production No. 3

This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were terminated
as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you accessed any relevant
websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a search for,
and will produce, all relevant documents by no later than two weeks from the date of this letter.
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 118 of 149


Hi all devices with any browser history were sent to TrustLabs. Thanks.

Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6, 2020-
September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020, from
devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

Please confirm you will update your response accordingly.

Unfortunately, I do not recollect "each instance" given the time length. I believe Mr. Takenouchi created a request for production for all the historical
records you have of access to TrustLabs accounts. Have you produced those? If so, please share, as that may be helpful for jogging memory.
Response: As noted in my prior response (copied above), this request asks you to respond to the best of your present recollection. Please supplement with
this understanding in mind. If you do not recall, you will need to state that in your response.
---

Request for Production No. 7; Special Interrogatory No. 2:
Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’ Request for
Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications you had with any third
parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i.e., the date of your termination).
We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to communicate with TrustLabs’ investors
(i e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on behalf of the company.
Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all relevant
documents by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any historical
record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to be or
represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those communications.
Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those communications (and
identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in TrustLabs’ possession. Please
update your response accordingly.

Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for Production
No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff on or after July 6,
2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession, custody, or control, you
must produce such documents.

What do you mean by the word affiliated? For example I have stated that I previously founded and was ceo of TrustToken. Does that count as affiliated in
your mind?
Response: “Affiliated” should be understood according to its ordinary meaning—i.e., “attached, associated, or connected with a person, entity, or
organization.” To the extent that you stated to anyone that you were affiliated with TrustToken at any point on or after July 6, 2020—for instance by
representing that you were the current CEO of TrustToken—that would constitute a communication contemplated by Interrogatory No. 2 and Request for
Production No. 7. Please supplement your response to Interrogatory No. 2 and Request for Production No. 7 accordingly.
---

Requests for Admissions Nos. 4 and 6
Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to which you
had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized, as the word is used
in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
Please provide amended responses to these requests by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you. All
devices where there would be any historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to admit (or
deny) certain contentions.

For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No reference to a
“historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.

Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for instance,
TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4, no reference to a
“historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 119 of 149


What do you mean by the word authorized and access? I was CEO and 1 of 2 board members at the time. Please describe your definition of authorization
and access, as well as your legal position. Thank you.
Response: I indicate the definition of “authorized” in my prior response above, as well as in prior correspondence with Mr. Takenouchi, which I have previously
provided to you. In the interest of moving things along, please understand “authorized” to mean “given official permission for or approval.” “Access” should be
understood to have its ordinary meaning—i.e., “to gain entry to,” or to “obtain, examine, or retrieve.” Please provide supplemental responses admitting or
denying these requests with this understanding in mind.

---

Request for Admissions No. 5
We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access accounts
belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
Please provide an amended response to this request by no later than two weeks from the date of this letter.

Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As with
TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a supplemental
response admitting or denying this request.

Are you asking specifically, whether I was able to enter and access TrustLabs' Reddit and Hubspot accounts. When you say access, do you mean did I log
in and enter the site with authentication completed? It is possible I "attempted to access" however I do not recollect the specific date. As mentioned
above, if you provide records which were included in Mr. Takenouchi's request, this would be helpful for jogging the memory, given it's been almost 3
years now.
Response: Request for Admission No. 5 is not limited to instances in which you successfully “log[ged] in and enter[ed] the site with authentication
completed.” By its express terms, the request asks you to admit that you either “accessed” or “attempted to access” accounts belonging to Plaintiff. Other
than the time frame limitation of July 6, 2020 to the present, there is no portion of this request that asks for specific dates. From your response above, it
appears that the answer to this request is “Admit.” Please supplement your response accordingly.

---


Special Interrogatories Nos. 6 and 7.
In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided that we
agreed these would count for multiple interrogatories.
With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your responses to
each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for Admission No. 2,
inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as discussed
above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6). Accordingly, under our
proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a total of five separate special
interrogatories.
We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense raised
in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each such
affirmative defense would constitute a total of 11 separate special interrogatories.
Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the date of
this letter.

I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the following
(capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below, but it may be
more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.

Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each response that
is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all PERSONS who have
knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each PERSON who has each
DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to which you
have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all facts upon
which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all DOCUMENTS and
tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative defenses in
this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint, which I have also
attached for your reference.
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 120 of 149


I believe there has been no admission or denial above so far, simply requests for clarification in addition to requests for production from you to me.
Response: You are incorrect. Please refer to your February 13, 2023 email in which you unambiguously stated, “I take the fifth” with respect to these
interrogatories. I have repeatedly invited you to engage in a telephone conversation to discuss these requests more fully. To date, you have refused that
invitation. I extend it once more and am available Tomorrow, 3/7/2023, or Wednesday, 3/8/2023, to discuss. Otherwise, please either supplement these
responses, or confirm you are pleading the fifth.
Thank you.


On Fri, Feb 17 2023 at 7:28 AM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 Please stop playing games. On January 13, 2023, you responded to each of the meet and confer topics that I raised by advising that you were “taking the
 fifth.” Please see attached email correspondence for reference. Indeed, in your below email of January 30, 2023, you stated that you were “taking the fifth”
 with respect to any meet and confer conference regarding your further responses to those discovery requests.

 Accordingly, in my February 14, 2023 email, I asked you to confirm that you were invoking the Fifth Amendment with respect to any supplemental responses
 to Plaintiff’s discovery requests. That email clearly referred to the discovery requests I had previously written to you about, but since you have professed
 confusion, I will once again ask you to confirm you are invoking the Fifth Amendment with respect to each of the topics addressed in the attached email
 correspondence. Please confirm by no later than 3pm Pacific time tomorrow (February 16, 2023) if this remains the case. If so, please also confirm that
 you will provide supplemental, verified discovery responses stating that you are invoking the Fifth Amendment by no later than 5pm Pacific time, February
 20, 2023.

 If this is no longer the case, please identify the specific requests as to which you are not invoking the Fifth Amendment, and provide your availability to
 telephonically meet and confer regarding those requests between February 16, 2023 and February 24, 2023. With respect to each request to which you
 intend to invoke the Fifth Amendment, please also confirm you will provide supplemental, verified discovery responses to those requests, stating that you
 are invoking the Fifth Amendment, by no later than 5pm Pacific time, February 17, 2023. Please confirm the foregoing by no later than 3pm Pacific time
 tomorrow (February 16, 2023).

 Absent your confirmation by 3pm PT tomorrow (2/16/23), we will seek recourse from the Court. I look forward to your prompt response.

 Best,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use, disclosure or
 distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.


 From: jai an <djan92@gmail.com>
 Sent: Wednesday, February 15, 2023 10:08 PM
 To: Carl Kaplan <ckaplan@svelf.com>
 Cc: Steven Friedlander <sfriedlander@svelf.com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 CAUTION: EXTERNAL EMAIL
 Hi, no there is a misunderstanding. I will invoke fifth amendment selectively case by case.

 On Tue, Feb 14 2023 at 8:41 AM, Carl Kaplan <ckaplan@svelf.com> wrote:
  Dear Mr. An,

  We understand from your prior correspondence that you are invoking the Fifth Amendment with respect to any further supplemental responses to
  Plaintiff’s discovery requests. Please confirm by 5pm Pacific time Wednesday (2/15/23) if this is the case, and, if so, whether you will provide
  supplemental, verified discovery responses stating that you are invoking the Fifth Amendment by no later than 5pm Pacific time, February 17, 2023.

  Thank you for your attention to this matter; we look forward to your prompt response. I am available to discuss further over the phone if that would be
  helpful.

  Best,



  Carl Kaplan
       Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 121 of 149


SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use, disclosure
or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.


From: jai an <djan92@gmail.com>
Sent: Monday, January 30, 2023 5:32 AM
To: Carl Kaplan <ckaplan@svelf.com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

CAUTION: EXTERNAL EMAIL
Hi Carl, I take the fifth. On availability: March 6-8 2023. I will be traveling abroad during February. Thank you.




On Sun, Jan 29 2023 at 12:10 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 As a final attempt to resolve this dispute without involving the court, please provide your availability to meet and confer this coming week by no later than
 5:00 p.m. Pacific time tomorrow (1/30/23). Additionally, as mentioned in my January 11, 2023 email, we intend to notice your deposition for February
 2023. Please confirm several days of your availability in this timeframe and we will select a mutually convenient deposition date. If you fail to provide
 your availability, we will notice your deposition for a date that works for us.

 I am available to discuss further and look forward to your prompt response.

 Thank you,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: jai an <djan92@gmail com>
 Sent: Friday, January 13, 2023 1:33 PM
 To: Carl Kaplan <ckaplan@svelf.com>
 Cc: Steven Friedlander <sfriedlander@svelf com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

  CAUTION: EXTERNAL EMAIL
 Hi Carl, thanks for emailing. Responses below above the "---" lines:

 As noted in my below email, if we do not receive your inserts by noon today, we will need to file separately with the Court.
 Additionally, it has come to our attention that your prior counsel did not provide your full address in his motion to withdraw –
 we understand that “404 Ave De La Constitucion, San Juan, Puerto Rico 00901” (the address provided) is a condominium with
 many units, and your prior counsel did not specify your unit. Regardless of whether you will be joining our case management
 statement, please respond to this email by noon today with your unit number so that we may effect service of our statement.
 Additionally, as I noted in my below email, please confirm if you will agree that electronic service (i.e., service via e-mail) will
 be effective service for all purposes going forward in this matter.
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 122 of 149




Address Below:
Daniel An
27 Calle Orta 3D APT Cond Los Nardos A
San Juan Puerto Rico 00907
Puerto Rico

To clarify my prior email—and as it is already past noon in Puerto Rico—I refer to 12:00pm pacific time.

I thought you were referring to 3pm PT in the previous emails. Since you've changed the datetime, I've just registered to pacer for efiling to efile the CMC,
thanks:




---

I am writing for three reasons:

First, I write to follow up on my requests to schedule a telephonic meet and confer in this matter. As I have previously expressed, and given the upcoming
close of fact discovery, if you do not make yourself available for a meet and confer conference by January 18, 2023, we will need to seek recourse from
the Court. Additionally, we hope to discuss during our meet and confer correspondence your availability to sit for deposition in this matter. We are glad
to discuss scheduling and procedural issues further during a call, but unless you agree to a meet and confer call on a date certain between now and
January 19, 2023, we will need to seek Court guidance on this issue as well.

I am currently considering and discussing whether to continue to represent myself pro per. Since I am not aware of rules, I will take the fifth until
being made more aware. Thank you.
---

Second, as your prior counsel may have advised you, the parties have a deadline to submit case management statements to the court by this Friday,
January 13, 2023. Please see attached e-mail for reference. Pursuant to the Court’s local rules, and given that you are not represented by counsel, we
may either submit separate statements, or a joint statement. (See Local Rule 16-9(a).)   We have attached our draft statement; if you would like to submit
jointly, please (i) provide your inserts in the attached (in the sections designated “Defendant”) by no later than 12pm on January 13, 2023; and (ii) once
finalized, sign and return the document for filing by no later than 3pm on January 13, 2023 (or, confirm you consent to our affixing your typed /s/
signature, as set forth in the draft Filing Consent Certification on page 4 of the attached).

I will look into e-filing the above, when Pacer allows me to do so by accepting my e file registration.
---

Third, please confirm if you will agree that electronic service (i.e., service via e-mail) will be effective service for all purposes going forward in this matter.

Does this mean all correspondence occurs via email going forward? If so, yes.
---

Thank you for your attention to this matter. I look forward to receiving your response, as well as your availability for a meet and confer conference.
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 123 of 149




---

Request for Production No. 3

This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were
terminated as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you accessed
any relevant websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a search
for, and will produce, all relevant documents by no later than two weeks from the date of this letter.

Hi all devices with any browser history were sent to TrustLabs. Thanks.

Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6,
2020-September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020,
from devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

Please confirm you will update your response accordingly.

I take the fifth.
---

Request for Production No. 7; Special Interrogatory No. 2:
Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’ Request
for Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications you had with
any third parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i e., the date of your
termination). We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to communicate with
TrustLabs’ investors (i e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on behalf of the company.
Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all
relevant documents by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any
historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to be
or represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those
communications. Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those
communications (and identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in
TrustLabs’ possession. Please update your response accordingly.

Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for
Production No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff on
or after July 6, 2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession,
custody, or control, you must produce such documents.

I take the fifth.
---

Requests for Admissions Nos. 4 and 6
Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to which
you had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized, as the
word is used in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
Please provide amended responses to these requests by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you. All
devices where there would be any historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to admit
(or deny) certain contentions.

For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No reference
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 124 of 149


to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.

Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for instance,
TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4, no reference
to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request

I take the fifth.
---

Request for Admissions No. 5
We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access accounts
belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
Please provide an amended response to this request by no later than two weeks from the date of this letter.

Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As
with TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a
supplemental response admitting or denying this request.

I take the fifth.
---


Special Interrogatories Nos. 6 and 7.
In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided that
we agreed these would count for multiple interrogatories.
With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your responses
to each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for Admission No.
2, inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as
discussed above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6). Accordingly,
under our proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a total of five
separate special interrogatories.
We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense
raised in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each such
affirmative defense would constitute a total of 11 separate special interrogatories.
Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the date
of this letter.

I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the
following (capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below,
but it may be more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.

Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each response
that is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all PERSONS
who have knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each PERSON who has
each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to which
you have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all facts
upon which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all
DOCUMENTS and tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative defenses
in this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint, which I have
also attached for your reference.

I take the fifth.
---

On Wed, Jan 11 2023 at 6:06 PM, Carl Kaplan <ckaplan@svelf com> wrote:
 Dear Mr. An,

 I am writing for three reasons:
    Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 125 of 149



First, I write to follow up on my requests to schedule a telephonic meet and confer in this matter. As I have previously expressed, and given the
upcoming close of fact discovery, if you do not make yourself available for a meet and confer conference by January 18, 2023, we will need to seek
recourse from the Court. Additionally, we hope to discuss during our meet and confer correspondence your availability to sit for deposition in this
matter. We are glad to discuss scheduling and procedural issues further during a call, but unless you agree to a meet and confer call on a date certain
between now and January 19, 2023, we will need to seek Court guidance on this issue as well.

Second, as your prior counsel may have advised you, the parties have a deadline to submit case management statements to the court by this Friday,
January 13, 2023. Please see attached e-mail for reference. Pursuant to the Court’s local rules, and given that you are not represented by counsel, we
may either submit separate statements, or a joint statement. (See Local Rule 16-9(a).)   We have attached our draft statement; if you would like to
submit jointly, please (i) provide your inserts in the attached (in the sections designated “Defendant”) by no later than 12pm on January 13, 2023; and
(ii) once finalized, sign and return the document for filing by no later than 3pm on January 13, 2023 (or, confirm you consent to our affixing your typed
/s/ signature, as set forth in the draft Filing Consent Certification on page 4 of the attached).

Third, please confirm if you will agree that electronic service (i.e., service via e-mail) will be effective service for all purposes going forward in this matter.

Thank you for your attention to this matter. I look forward to receiving your response, as well as your availability for a meet and confer conference.

Best,

Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: Carl Kaplan
Sent: Tuesday, January 10, 2023 1:38 PM
To: jai an <djan92@gmail.com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

Thank you for the email, Mr. An. As stated below, please let me know your availability this week for a call on the issues raised in my prior
correspondence.

Best,

Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: jai an <djan92@gmail com>
Sent: Monday, January 9, 2023 3:45 PM
To: Carl Kaplan <ckaplan@svelf com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

CAUTION: EXTERNAL EMAIL
Hi coming back online from travels and vacation - catching up on emailing and can respond back
   Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 126 of 149



On Fri, Jan 6 2023 at 5:34 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 Following up on this—please let me know your availability next week (1/9/23-1/13/23) for a call to address the issues raised in my below emails. If we
 do not hear from you by the end of next week, we will need to seek guidance from the Court.

 Thank you in advance for your attention to this matter, and I look forward to hearing from you soon.

 Best,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: Carl Kaplan
 Sent: Thursday, December 29, 2022 4:08 PM
 To: jai an <djan92@gmail.com>
 Cc: Steven Friedlander <sfriedlander@svelf.com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 Dear Mr. An:

 Thank you for your response email. I have responded in-line to each of your comments, below, in red ink. Please review and let me know when you are
 free to discuss between January 3, 2023 and January 9, 2023. I am also available tomorrow, December 30, 2022, if you have availability.

 Best,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: jai an <djan92@gmail.com>
 Sent: Monday, December 19, 2022 3:02 PM
 To: Carl Kaplan <ckaplan@svelf.com>
 Cc: Steven Friedlander <sfriedlander@svelf.com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 CAUTION: EXTERNAL EMAIL
 Hi Carl, thanks for emailing. Responses below above the "---" lines:

 Request for Production No. 3

 This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were
 terminated as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you
 accessed any relevant websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
 Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 127 of 149


search for, and will produce, all relevant documents by no later than two weeks from the date of this letter.

Hi all devices with any browser history were sent to TrustLabs. Thanks.

Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6,
2020-September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020,
from devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

Please confirm you will update your response accordingly.

---

Request for Production No. 7; Special Interrogatory No. 2:
Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’
Request for Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications
you had with any third parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i.e.,
the date of your termination). We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to
communicate with TrustLabs’ investors (i.e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on
behalf of the company.
Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all
relevant documents by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any
historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to
be or represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those
communications. Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those
communications (and identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in
TrustLabs’ possession. Please update your response accordingly.

Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for
Production No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff
on or after July 6, 2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession,
custody, or control, you must produce such documents.

---

Requests for Admissions Nos. 4 and 6
Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to
which you had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized,
as the word is used in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
Please provide amended responses to these requests by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you.
All devices where there would be any historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to
admit (or deny) certain contentions.

For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No
reference to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.

Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for
instance, TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4,
no reference to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request

---

Request for Admissions No. 5
We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access
accounts belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
Please provide an amended response to this request by no later than two weeks from the date of this letter.
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 128 of 149


Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As
with TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a
supplemental response admitting or denying this request.


---

Special Interrogatories Nos. 6 and 7.
In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided
that we agreed these would count for multiple interrogatories.
With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your
responses to each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for
Admission No. 2, inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as
discussed above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6).
Accordingly, under our proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a
total of five separate special interrogatories.
We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense
raised in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each
such affirmative defense would constitute a total of 11 separate special interrogatories.
Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the
date of this letter.

I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the
following (capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below,
but it may be more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.

Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each
response that is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all
PERSONS who have knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each
PERSON who has each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to
which you have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all
facts upon which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all
DOCUMENTS and tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or
thing.

As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative
defenses in this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint,
which I have also attached for your reference.


---




On Mon, Dec 12 2022 at 5:45 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 Following up on my below email (and attached correspondence) from December 5, 2022. Please confirm receipt thereof.

 Thank you,

 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com
 Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 129 of 149




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: Carl Kaplan
Sent: Monday, December 5, 2022 12:05 PM
To: 'djan92@gmail.com' <djan92@gmail.com>
Cc: Steven Friedlander <sfriedlander@svelf com>
Subject: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

Dear Mr. An,

Please see the attached correspondence. As stated therein, your response is requested by no later than Monday, December 19, 2022. I am available
to discuss further in the interim if that would be helpful. Thank you for your attention to this matter.

Sincerely,

Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 130 of 149
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 131 of 149


Could you share where in the rules you are referencing for 2 day response requests? Thank you.



   All of the documents you request in your below email should be in the client file that Mr. Takenouchi provided to you upon his withdrawal as your counsel. To
   the extent you have not received your client file, you will need to address that request to Mr. Takenouchi. Finally, I confirm we are operating based on the
   local rules of the Northern District of California, as well Judge Breyer’s standing orders and the Federal Rules of Civil Procedure.



Mr Takenouchi has shared that all client files were sent in a data dump that I've received. However "Initial Disclsoures" referenced in Chapter 13 was never
received; therefore, kindly provide thank you.



   Thank you for your attention to this email; we look forward to your timely response.



I am also mindful of your repeated requests for deposition in February. I am available to fly in for a deposition March 20th; afterwards I will be less available due
to a partner's medical process.

Thank you.


   Regards,



   Carl Kaplan
   SV Employment Law Firm PC
   160 Bovet Road, Suite 401
   San Mateo, CA 94402
   ckaplan@svelf.com
   tel: (650) 265-0222
   fax: (650) 265-0223
   www.svelf.com




   An Entrepreneurial Employment Law Firm

   This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use, disclosure or
   distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.


   From: jai an <djan92@gmail com>
   Sent: Friday, February 24, 2023 8:57 AM
   To: Carl Kaplan <ckaplan@svelf.com>
   Cc: Steven Friedlander <sfriedlander@svelf.com>
   Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

   CAUTION: EXTERNAL EMAIL
   Hi, I'm having trouble understanding your request.

   Are you asking me to confirm that I said something previously that you are attaching as evidence of me having said?

   Going forward I'll reference the California Northern District United States District Court Civil Local Rules (https://www cand.uscourts.gov/rules/civil-local-
   rules/) as well as the pro se handbook (https://cand.uscourts.gov/wp-content/uploads/2020/02/Pro Se Handbook 2020 links 8-2021.pdf).

   I will reference the below rules; please let me know if you are following and abiding by the same or different set of reference rules, thank you.
       Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 132 of 149




I am happy to follow rules; however for any compelled speech, behavior, or action, it would require a citation to the rule as written in law, as well explicit
confirmation and documentation that forced/compelled behavior or speech is being required by law.

Could you please provide the Initial Disclosures document referenced below (along with the "Required Content" and any changes along the way from the
initial disclosures):




I've attached an example of the Initial Disclosures provided by the Court.


Updated responses below:

Request for Production No. 3

This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were terminated
as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you accessed any relevant
websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a search for,
and will produce, all relevant documents by no later than two weeks from the date of this letter.

Hi all devices with any browser history were sent to TrustLabs. Thanks.
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 133 of 149


   Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
   instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6, 2020-
   September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020, from
   devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

   Please confirm you will update your response accordingly.



   Unfortunately, I do not recollect "each instance" given the time length. I believe Mr. Takenouchi created a request for production for all the historical
   records you have of access to TrustLabs accounts. Have you produced those? If so, please share, as that may be helpful for jogging memory.
   Response: As noted in my prior response (copied above), this request asks you to respond to the best of your present recollection. Please supplement with
   this understanding in mind. If you do not recall, you will need to state that in your response.


I do not recall; however, note that since I was using the devices for correspondence during exit negotiations (as they were the only devices I had at the time), any
access attempts may have been triggered inadvertantly via device usage which already was signed into accounts previously.


   ---

   Request for Production No. 7; Special Interrogatory No. 2:
   Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’ Request for
   Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications you had with any third
   parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i.e., the date of your termination).
   We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to communicate with TrustLabs’ investors
   (i.e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on behalf of the company.
   Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all relevant
   documents by no later than two weeks from the date of this letter.

   Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any historical
   record were sent to TrustLabs. Thank you.



   Response: Please see attached meet and confer correspondence with Mr. Takenouchi.


I do not see any files or document attached the email you sent? Is there an issue on my side?



   To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to be or
   represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those communications.
   Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those communications (and
   identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in TrustLabs’ possession. Please
   update your response accordingly.

   Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for Production
   No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff on or after July 6,
   2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession, custody, or control, you
   must produce such documents.

   What do you mean by the word affiliated? For example I have stated that I previously founded and was ceo of TrustToken. Does that count as affiliated in
   your mind?
   Response: “Affiliated” should be understood according to its ordinary meaning—i e., “attached, associated, or connected with a person, entity, or
   organization.” To the extent that you stated to anyone that you were affiliated with TrustToken at any point on or after July 6, 2020—for instance by
   representing that you were the current CEO of TrustToken—that would constitute a communication contemplated by Interrogatory No. 2 and Request for
   Production No. 7. Please supplement your response to Interrogatory No. 2 and Request for Production No. 7 accordingly.


Do you mean as a shareholder? Or a former employee or former CEO? I have represented myself as having worked at TrustLabs previously countless times, and it
is currently displayed on my Linkedin. Do you want me to produce every instance of representing myself as having been affiliated with TrustLabs? This may
number in the hundreds or perhaps thousands and take weeks to produce and think through every instance that someone has asked me about what I've done
previously in life.


   ---

   Requests for Admissions Nos. 4 and 6
   Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to which you
   had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized, as the word is used
   in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
   Please provide amended responses to these requests by no later than two weeks from the date of this letter.

   Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you. All
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 134 of 149


   devices where there would be any historical record were sent to TrustLabs. Thank you.




   Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

   These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to admit (or
   deny) certain contentions.

   For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No reference to a
   “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.

   Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for instance,
   TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4, no reference to a
   “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request

   What do you mean by the word authorized and access? I was CEO and 1 of 2 board members at the time. Please describe your definition of authorization
   and access, as well as your legal position. Thank you.
   Response: I indicate the definition of “authorized” in my prior response above, as well as in prior correspondence with Mr. Takenouchi, which I have previously
   provided to you. In the interest of moving things along, please understand “authorized” to mean “given official permission for or approval.” “Access” should be
   understood to have its ordinary meaning—i.e., “to gain entry to,” or to “obtain, examine, or retrieve.” Please provide supplemental responses admitting or
   denying these requests with this understanding in mind.



Here is what the TrustLabs (f.k.a "Win the Game") bylaws (drafted by Wilmerhale upon incorporations) state about the role and authority of the CEO:

"3.7 President; Chief Executive Officer. Unless the Board of Directors has designated another person as the corporation’s Chief Executive Officer, the President
shall be the Chief Executive Officer of the corporation. The Chief Executive Officer shall have general charge and supervision of the business of the corporation
subject to the direction of the Board of Directors, and shall perform all duties and have all powers that are commonly incident to the office of chief executive or
that are delegated to such officer by the Board of Directors. The President shall perform such other duties and shall have such other powers as the Board of
Directors or the Chief Executive Officer (if the President is not the Chief Executive Officer) may from time to time prescribe. In the event of the absence, inability
or refusal to act of the Chief Executive Officer or the President (if the President is not the Chief Executive Officer), the Vice President (or if there shall be more
than one, the Vice Presidents in the order determined by the Board of Directors) shall perform the duties of the Chief Executive Officer and when so performing
such duties shall have all the powers of and be subject to all the restrictions upon the Chief Executive Officer."

In my tenure as CEO of TrustLabs for about five years. I selected, purchased, deleted, authorized, processed, removed dozens (if not hundreds) of vendors and
tools and service providers for TrustLabs. These include but are not limited to: Slack, Discord, Discourse, 1Password, Hubspot, Web Hosting, GitHub, Asana, Trello,
Canny, Namecheap, SVB, Chase, Brex, Accounting Providers, Bookeeping Providers, Quickbooks, Auditors, Law Firms (including Wilmerhale, Orrick, etc.),
Contractors, Developers, 1099s, W2, Partnerships, etc. This included virtually all tools, vendors, technologies, service providers, law firms, partnerships, etc.

Could you provide your definition of authorization and if you are stating whether the "definition" of authorization within the Bylaws, Delaware General Corporate
Law (DGCL), or by shareholder or board consent had my authorization been changed or altered prior to the event you are referencing. Or if you are stating that
changing out a vendor like Slack is outside my previous normal scope of CEO duties for 5 years.

In addition, I enacted the change from Slack to Discord shortly after a call with Joseph Perkins at Orrick who stated that he deemed extremely unlikley that a vote
is occuring, given that (1) I hold close to majority shares and (2) he had never heard of an instance like this previously and (3) no one at the company consulted
nor notified him, who was main general outside corporate counsel. After this call with TrustLabs' primary corporate counsel, I took it upon his word.

In any future deposition, jury trial, or witness statement, we can call upon Joseph to speak under oath.


   ---

   Request for Admissions No. 5
   We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access accounts
   belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
   Please provide an amended response to this request by no later than two weeks from the date of this letter.

   Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

   Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As with
   TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a supplemental
   response admitting or denying this request.

   Are you asking specifically, whether I was able to enter and access TrustLabs' Reddit and Hubspot accounts. When you say access, do you mean did I log
   in and enter the site with authentication completed? It is possible I "attempted to access" however I do not recollect the specific date. As mentioned
   above, if you provide records which were included in Mr. Takenouchi's request, this would be helpful for jogging the memory, given it's been almost 3
   years now.
   Response: Request for Admission No. 5 is not limited to instances in which you successfully “log[ged] in and enter[ed] the site with authentication
   completed.” By its express terms, the request asks you to admit that you either “accessed” or “attempted to access” accounts belonging to Plaintiff. Other
   than the time frame limitation of July 6, 2020 to the present, there is no portion of this request that asks for specific dates. From your response above, it
   appears that the answer to this request is “Admit.” Please supplement your response accordingly.
          Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 135 of 149



Copying and pasting the text above due to relevancy: "I do not recall; however, note that since I was using the devices for correspondence during exit
negotiations (as they were the only devices I had at the time), any access attempts may have been triggered inadvertantly via device usage which already was
signed into accounts previously. "



   ---


   Special Interrogatories Nos. 6 and 7.
   In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided that we
   agreed these would count for multiple interrogatories.
   With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your responses to
   each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for Admission No. 2,
   inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
   At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as discussed
   above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6). Accordingly, under our
   proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a total of five separate special
   interrogatories.
   We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense raised
   in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
   You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each such
   affirmative defense would constitute a total of 11 separate special interrogatories.
   Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the date of
   this letter.

   I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

   Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the following
   (capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below, but it may be
   more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.

   Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each response that
   is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all PERSONS who have
   knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each PERSON who has each
   DOCUMENT or thing.

   As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to which you
   have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

   Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all facts upon
   which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all DOCUMENTS and
   tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or thing.

   As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative defenses in
   this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint, which I have also
   attached for your reference.

   I believe there has been no admission or denial above so far, simply requests for clarification in addition to requests for production from you to me.
   Response: You are incorrect. Please refer to your February 13, 2023 email in which you unambiguously stated, “I take the fifth” with respect to these
   interrogatories. I have repeatedly invited you to engage in a telephone conversation to discuss these requests more fully. To date, you have refused that
   invitation. I extend it once more and am available Tomorrow, 3/7/2023, or Wednesday, 3/8/2023, to discuss. Otherwise, please either supplement these
   responses, or confirm you are pleading the fifth.



Hello, given that I am considering whether to bring on an attorney to represent myself or continue to represent myself pro se (and since this is my first litgation
experience, compared to your many experiences, credentials, knowledge, and wisdom), I prefer all communications to be written or recorded for easy context
transfer for any potential attorney to help lead my case. Thank you.


I am attempting to interpret what you are communicating: it sounds like you are asking if I have stated "I take the fifth" previously in email. Yes that was stated in
email as shown in email logs below. It sounds like you want me to (a) state all facts, (b) identify all persons (c) describe all documents related Requests 4, 5, and 6.



On the topics of authorization and access (requests 4, 5, 6), I believe all persons would be Rafael Cosman (Board and Engineering Head), Alex de Lorraine
(Director of Finance), Anna Arpilleda (HR Manager), Zean Moore (IT Manager), Joseph Perkins (Orrick Corporate Counsel)


All facts is quite broad; however is an attempt to respond to all facts request:
- I was terminated on or about July 7 2020
- I given leave or notification
            Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 136 of 149


- I was CEO and Board Memember prior to July 7
- I was in those positions for about five years
- I authorized, purchased, deleted, removed virtually all services, providers, tools, technologies, contractors, firms, partnerships during that time
- I transitioned Slack to Discord
- I also transitioned to Discourse and a number of vendors and tools and partners shortly before that
- I had a phone call with Joseph Perkins, primary corporate counsel shortly before transitioning from Slack to Discord
- Joseph Perkins stated that it was very unlikely a vote out would occur and would create problems down the road, and that he had never heard wind of such
event occuring


All documents:
- I presume the Bylaws, Delaware General Corporate Law (DGCL) are relevant here
- Email correspondence, which were shared and/or are within TrustLabs servers and Google email accounts
- Records of any shareholder votes or consents or board votes or consents



Thanks!
  Thank you.


  On Fri, Feb 17 2023 at 7:28 AM, Carl Kaplan <ckaplan@svelf.com> wrote:
    Dear Mr. An,

    Please stop playing games. On January 13, 2023, you responded to each of the meet and confer topics that I raised by advising that you were “taking the
    fifth.” Please see attached email correspondence for reference. Indeed, in your below email of January 30, 2023, you stated that you were “taking the fifth”
    with respect to any meet and confer conference regarding your further responses to those discovery requests.

    Accordingly, in my February 14, 2023 email, I asked you to confirm that you were invoking the Fifth Amendment with respect to any supplemental responses
    to Plaintiff’s discovery requests. That email clearly referred to the discovery requests I had previously written to you about, but since you have professed
    confusion, I will once again ask you to confirm you are invoking the Fifth Amendment with respect to each of the topics addressed in the attached email
    correspondence. Please confirm by no later than 3pm Pacific time tomorrow (February 16, 2023) if this remains the case. If so, please also confirm that
    you will provide supplemental, verified discovery responses stating that you are invoking the Fifth Amendment by no later than 5pm Pacific time, February
    20, 2023.

    If this is no longer the case, please identify the specific requests as to which you are not invoking the Fifth Amendment, and provide your availability to
    telephonically meet and confer regarding those requests between February 16, 2023 and February 24, 2023. With respect to each request to which you
    intend to invoke the Fifth Amendment, please also confirm you will provide supplemental, verified discovery responses to those requests, stating that you
    are invoking the Fifth Amendment, by no later than 5pm Pacific time, February 17, 2023. Please confirm the foregoing by no later than 3pm Pacific time
    tomorrow (February 16, 2023).

    Absent your confirmation by 3pm PT tomorrow (2/16/23), we will seek recourse from the Court. I look forward to your prompt response.

    Best,



    Carl Kaplan
    SV Employment Law Firm PC
    160 Bovet Road, Suite 401
    San Mateo, CA 94402
    ckaplan@svelf.com
    tel: (650) 265-0222
    fax: (650) 265-0223
    www.svelf.com




    An Entrepreneurial Employment Law Firm

    This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use, disclosure or
    distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.


    From: jai an <djan92@gmail.com>
    Sent: Wednesday, February 15, 2023 10:08 PM
    To: Carl Kaplan <ckaplan@svelf.com>
    Cc: Steven Friedlander <sfriedlander@svelf.com>
    Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

    CAUTION: EXTERNAL EMAIL
    Hi, no there is a misunderstanding. I will invoke fifth amendment selectively case by case.

    On Tue, Feb 14 2023 at 8:41 AM, Carl Kaplan <ckaplan@svelf.com> wrote:
     Dear Mr. An,
    Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 137 of 149


We understand from your prior correspondence that you are invoking the Fifth Amendment with respect to any further supplemental responses to
Plaintiff’s discovery requests. Please confirm by 5pm Pacific time Wednesday (2/15/23) if this is the case, and, if so, whether you will provide
supplemental, verified discovery responses stating that you are invoking the Fifth Amendment by no later than 5pm Pacific time, February 17, 2023.

Thank you for your attention to this matter; we look forward to your prompt response. I am available to discuss further over the phone if that would be
helpful.

Best,



Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use, disclosure
or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message.


From: jai an <djan92@gmail.com>
Sent: Monday, January 30, 2023 5:32 AM
To: Carl Kaplan <ckaplan@svelf com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

CAUTION: EXTERNAL EMAIL
Hi Carl, I take the fifth. On availability: March 6-8 2023. I will be traveling abroad during February. Thank you.




On Sun, Jan 29 2023 at 12:10 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 As a final attempt to resolve this dispute without involving the court, please provide your availability to meet and confer this coming week by no later than
 5:00 p.m. Pacific time tomorrow (1/30/23). Additionally, as mentioned in my January 11, 2023 email, we intend to notice your deposition for February
 2023. Please confirm several days of your availability in this timeframe and we will select a mutually convenient deposition date. If you fail to provide
 your availability, we will notice your deposition for a date that works for us.

 I am available to discuss further and look forward to your prompt response.

 Thank you,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: jai an <djan92@gmail.com>
 Sent: Friday, January 13, 2023 1:33 PM
 To: Carl Kaplan <ckaplan@svelf.com>
 Cc: Steven Friedlander <sfriedlander@svelf com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

  CAUTION: EXTERNAL EMAIL
 Hi Carl, thanks for emailing. Responses below above the "---" lines:
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 138 of 149



As noted in my below email, if we do not receive your inserts by noon today, we will need to file separately with the Court.
Additionally, it has come to our attention that your prior counsel did not provide your full address in his motion to withdraw –
we understand that “404 Ave De La Constitucion, San Juan, Puerto Rico 00901” (the address provided) is a condominium with
many units, and your prior counsel did not specify your unit. Regardless of whether you will be joining our case management
statement, please respond to this email by noon today with your unit number so that we may effect service of our statement.
Additionally, as I noted in my below email, please confirm if you will agree that electronic service (i.e., service via e-mail) will
be effective service for all purposes going forward in this matter.




Address Below:
Daniel An
27 Calle Orta 3D APT Cond Los Nardos A
San Juan Puerto Rico 00907
Puerto Rico

To clarify my prior email—and as it is already past noon in Puerto Rico—I refer to 12:00pm pacific time.

I thought you were referring to 3pm PT in the previous emails. Since you've changed the datetime, I've just registered to pacer for efiling to efile the CMC,
thanks:




---

I am writing for three reasons:

First, I write to follow up on my requests to schedule a telephonic meet and confer in this matter. As I have previously expressed, and given the upcoming
close of fact discovery, if you do not make yourself available for a meet and confer conference by January 18, 2023, we will need to seek recourse from
the Court. Additionally, we hope to discuss during our meet and confer correspondence your availability to sit for deposition in this matter. We are glad
to discuss scheduling and procedural issues further during a call, but unless you agree to a meet and confer call on a date certain between now and
January 19, 2023, we will need to seek Court guidance on this issue as well.

I am currently considering and discussing whether to continue to represent myself pro per. Since I am not aware of rules, I will take the fifth until
being made more aware. Thank you.
---

Second, as your prior counsel may have advised you, the parties have a deadline to submit case management statements to the court by this Friday,
January 13, 2023. Please see attached e-mail for reference. Pursuant to the Court’s local rules, and given that you are not represented by counsel, we
may either submit separate statements, or a joint statement. (See Local Rule 16-9(a).)   We have attached our draft statement; if you would like to submit
jointly, please (i) provide your inserts in the attached (in the sections designated “Defendant”) by no later than 12pm on January 13, 2023; and (ii) once
finalized, sign and return the document for filing by no later than 3pm on January 13, 2023 (or, confirm you consent to our affixing your typed /s/
signature, as set forth in the draft Filing Consent Certification on page 4 of the attached).
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 139 of 149


I will look into e-filing the above, when Pacer allows me to do so by accepting my e file registration.
---

Third, please confirm if you will agree that electronic service (i.e., service via e-mail) will be effective service for all purposes going forward in this matter.

Does this mean all correspondence occurs via email going forward? If so, yes.
---

Thank you for your attention to this matter. I look forward to receiving your response, as well as your availability for a meet and confer conference.




---

Request for Production No. 3

This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were
terminated as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you accessed
any relevant websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a search
for, and will produce, all relevant documents by no later than two weeks from the date of this letter.

Hi all devices with any browser history were sent to TrustLabs. Thanks.

Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6,
2020-September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020,
from devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

Please confirm you will update your response accordingly.

I take the fifth.
---

Request for Production No. 7; Special Interrogatory No. 2:
Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’ Request
for Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications you had with
any third parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i e., the date of your
termination). We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to communicate with
TrustLabs’ investors (i e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on behalf of the company.
Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all
relevant documents by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any
historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to be
or represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those
communications. Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those
communications (and identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in
TrustLabs’ possession. Please update your response accordingly.

Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for
Production No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff on
or after July 6, 2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession,
custody, or control, you must produce such documents.

I take the fifth.
---

Requests for Admissions Nos. 4 and 6
Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to which
you had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized, as the
word is used in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
Please provide amended responses to these requests by no later than two weeks from the date of this letter.
  Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 140 of 149


Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you. All
devices where there would be any historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to admit
(or deny) certain contentions.

For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No reference
to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.

Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for instance,
TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4, no reference
to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request

I take the fifth.
---

Request for Admissions No. 5
We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access accounts
belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
Please provide an amended response to this request by no later than two weeks from the date of this letter.

Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As
with TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a
supplemental response admitting or denying this request.

I take the fifth.
---


Special Interrogatories Nos. 6 and 7.
In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided that
we agreed these would count for multiple interrogatories.
With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your responses
to each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for Admission No.
2, inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as
discussed above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6). Accordingly,
under our proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a total of five
separate special interrogatories.
We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense
raised in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each such
affirmative defense would constitute a total of 11 separate special interrogatories.
Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the date
of this letter.

I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the
following (capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below,
but it may be more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.

Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each response
that is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all PERSONS
who have knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each PERSON who has
each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to which
you have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all facts
upon which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all
DOCUMENTS and tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative defenses
in this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint, which I have
also attached for your reference.
  Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 141 of 149


I take the fifth.
---

On Wed, Jan 11 2023 at 6:06 PM, Carl Kaplan <ckaplan@svelf com> wrote:
 Dear Mr. An,

 I am writing for three reasons:

 First, I write to follow up on my requests to schedule a telephonic meet and confer in this matter. As I have previously expressed, and given the
 upcoming close of fact discovery, if you do not make yourself available for a meet and confer conference by January 18, 2023, we will need to seek
 recourse from the Court. Additionally, we hope to discuss during our meet and confer correspondence your availability to sit for deposition in this
 matter. We are glad to discuss scheduling and procedural issues further during a call, but unless you agree to a meet and confer call on a date certain
 between now and January 19, 2023, we will need to seek Court guidance on this issue as well.

 Second, as your prior counsel may have advised you, the parties have a deadline to submit case management statements to the court by this Friday,
 January 13, 2023. Please see attached e-mail for reference. Pursuant to the Court’s local rules, and given that you are not represented by counsel, we
 may either submit separate statements, or a joint statement. (See Local Rule 16-9(a).)   We have attached our draft statement; if you would like to
 submit jointly, please (i) provide your inserts in the attached (in the sections designated “Defendant”) by no later than 12pm on January 13, 2023; and
 (ii) once finalized, sign and return the document for filing by no later than 3pm on January 13, 2023 (or, confirm you consent to our affixing your typed
 /s/ signature, as set forth in the draft Filing Consent Certification on page 4 of the attached).

 Third, please confirm if you will agree that electronic service (i.e., service via e-mail) will be effective service for all purposes going forward in this matter.

 Thank you for your attention to this matter. I look forward to receiving your response, as well as your availability for a meet and confer conference.

 Best,

 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: Carl Kaplan
 Sent: Tuesday, January 10, 2023 1:38 PM
 To: jai an <djan92@gmail com>
 Cc: Steven Friedlander <sfriedlander@svelf com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 Thank you for the email, Mr. An. As stated below, please let me know your availability this week for a call on the issues raised in my prior
 correspondence.

 Best,

 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: jai an <djan92@gmail com>
 Sent: Monday, January 9, 2023 3:45 PM
 To: Carl Kaplan <ckaplan@svelf.com>
 Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 142 of 149


Cc: Steven Friedlander <sfriedlander@svelf com>
Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

CAUTION: EXTERNAL EMAIL
Hi coming back online from travels and vacation - catching up on emailing and can respond back




On Fri, Jan 6 2023 at 5:34 PM, Carl Kaplan <ckaplan@svelf.com> wrote:
 Dear Mr. An,

 Following up on this—please let me know your availability next week (1/9/23-1/13/23) for a call to address the issues raised in my below emails. If we
 do not hear from you by the end of next week, we will need to seek guidance from the Court.

 Thank you in advance for your attention to this matter, and I look forward to hearing from you soon.

 Best,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: Carl Kaplan
 Sent: Thursday, December 29, 2022 4:08 PM
 To: jai an <djan92@gmail.com>
 Cc: Steven Friedlander <sfriedlander@svelf.com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

 Dear Mr. An:

 Thank you for your response email. I have responded in-line to each of your comments, below, in red ink. Please review and let me know when you are
 free to discuss between January 3, 2023 and January 9, 2023. I am also available tomorrow, December 30, 2022, if you have availability.

 Best,



 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
 www.svelf.com




 An Entrepreneurial Employment Law Firm

 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message.


 From: jai an <djan92@gmail.com>
 Sent: Monday, December 19, 2022 3:02 PM
 To: Carl Kaplan <ckaplan@svelf.com>
 Cc: Steven Friedlander <sfriedlander@svelf.com>
 Subject: RE: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

  CAUTION: EXTERNAL EMAIL
 Hi Carl, thanks for emailing. Responses below above the "---" lines:
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 143 of 149


Request for Production No. 3

This request asks for a document (or documents) listing each time that you attempted to access any account belonging to TrustLabs after you were
terminated as CEO, during the time period of July 6, 2020, through September 1, 2020, including a browser history demonstrating whether you
accessed any relevant websites, as well as emails sent to your accounts demonstrating that you either accessed or attempted to access these accounts.
Your prior counsel, Mr. Takenouchi of Kasowitz Benson Torres LLP, agreed to search for these documents. Please confirm you will conduct such a
search for, and will produce, all relevant documents by no later than two weeks from the date of this letter.

Hi all devices with any browser history were sent to TrustLabs. Thanks.

Response: This request asks for a list of instances on which you attempted to access a TrustLabs account, not for browser history demonstrating those
instances. Please list, to the best of your recollection, each instance in which you attempted to access TrustLabs accounts during the period of July 6,
2020-September 1, 2020. Also, to the extent that you attempted to access any TrustLabs accounts during the period of July 6, 2020-September 1, 2020,
from devices other than those you returned to TrustLabs, you must list those instances as well, or affirmatively state that you did not do so.

Please confirm you will update your response accordingly.

---

Request for Production No. 7; Special Interrogatory No. 2:
Mr. Takenouchi and our firm previously discussed the phrase “held yourself out to be represented that you were affiliated” as used in TrustLabs’
Request for Production No. 7 and Special Interrogatory No. 2. We explained that we are seeking identification and production of all communications
you had with any third parties in which you discussed TrustLabs’ business or attempted to negotiate on behalf of TrustLabs on or after July 6, 2020 (i e.,
the date of your termination). We also explained to Mr. Takenouchi that TrustLabs is aware that, following your removal as CEO, you continued to
communicate with TrustLabs’ investors (i.e., individuals and entities that hold TrustLabs assets and/or tokens) or potential investors, purportedly on
behalf of the company.
Mr. Takenouchi agreed to search for documents relevant to these requests. Please confirm you will conduct such a search for, and will produce, all
relevant documents by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" (whether in email or conversation summarized)? Thank you. All devices where there would be any
historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

To clarify, TrustLabs’ Interrogatory No. 2 (which this section addresses in part), asks for a “list” of each communication in which you held yourself out to
be or represented that you were affiliated with TrustLabs on or after July 6, 2020, and also to identify each person who participated in those
communications. Accordingly, if you have any independent recollection of any such communication(s) you made after July 6, 2020, you must list those
communications (and identify the party or parties with whom you communicated), regardless of whether all devices with “any historical record” are in
TrustLabs’ possession. Please update your response accordingly.

Similarly, to the extent that you do not have any documents in your possession, custody, or control that are responsive to TrustLabs’ Request for
Production No. 7 (seeking all documents and communications in which you held yourself out to be or represented that you were affiliated with Plaintiff
on or after July 6, 2020), please confirm. If, however, you have any documents that are responsive to Request for Production No. 7 in your possession,
custody, or control, you must produce such documents.

---

Requests for Admissions Nos. 4 and 6
Mr. Takenouchi and our firm also discussed the definition of the word “authorized” as used in TrustLabs’ Requests for Admissions, Nos. 4 and 6, to
which you had previously objected as vague and ambiguous. We explained that we were seeking your legal position on whether you were authorized,
as the word is used in the statutes that form the bases for TrustLabs’ causes of action,1 to perform the specified actions.
Please provide amended responses to these requests by no later than two weeks from the date of this letter.

Could you provide all the previous "discussions" on the definition of the word "authorized" (whether in email or conversation summarized)? Thank you.
All devices where there would be any historical record were sent to TrustLabs. Thank you.


Response: Please see attached meet and confer correspondence with Mr. Takenouchi.

These requests for admission do not ask for historical records that may be contained on devices that were sent back to TrustLabs; they ask you to
admit (or deny) certain contentions.

For instance, Request for Admission, No. 4 asks you to admit that you were not authorized to delete TrustLabs’ slack account on July 6, 2020. No
reference to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request.

Similarly, Request for Admission, No. 6 asks you to admit that you were not authorized to access accounts belonging to TrustLabs, including, for
instance, TrustLabs’ Reddit or Hubspot accounts, after TrustLabs terminated your employment on July 6, 2020. As with Request for Admission, No. 4,
no reference to a “historical record” is required to respond to this request. Please provide a supplemental response admitting or denying this request

---
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 144 of 149


Request for Admissions No. 5
We also previously explained to Mr. Takenouchi that TrustLabs’ Request for Admission No. 5 asks whether you accessed or attempted to access
accounts belonging to TrustLabs after July 6, 2020 (and not, as your response provides, after July 7, 2020).
Please provide an amended response to this request by no later than two weeks from the date of this letter.

Could you specify which accounts you are referring to? Correspondence with TrustLabs occurred on TrustLabs devices that were all sent back.

Response: This request pertains to any and all accounts owned by TrustLabs, including, but not limited to, TrustLabs’ Reddit and Hubspot accounts. As
with TrustLabs’ Requests for Admissions Nos. 4 and 6, no reference to a “historical record” is required to respond to this request. Please provide a
supplemental response admitting or denying this request.


---

Special Interrogatories Nos. 6 and 7.
In discussing your objections to these special interrogatories, Mr. Takenouchi agreed to provide further responses to these interrogatories, provided
that we agreed these would count for multiple interrogatories.
With respect to Special Interrogatory No. 6, we will agree that this interrogatory will be deemed a separate interrogatory with respect to your
responses to each of TrustLabs’ Requests for Admission that is not an unqualified admission. For instance, your response with respect to Request for
Admission No. 2, inclusive of subparts (a)-(d) in Special Interrogatory No. 6, would constitute a response to a separate special interrogatory.
At present, you have provided answers that are not unqualified admissions to TrustLabs’ Requests for Admissions Nos. 1, 2, 4, 5, and 6 (though, as
discussed above, that number may be subject to change depending on your amended responses to Requests for Admission Nos. 4, 5, and 6).
Accordingly, under our proposal, your responses to Special Interrogatory No. 6 with respect to each such Request for Admission would constitute a
total of five separate special interrogatories.
We will agree to a similar treatment of your responses to Special Interrogatory No. 7, such that your response with respect to each affirmative defense
raised in your Answer, inclusive of subparts (a)-(c) of Special Interrogatory No. 7, would constitute a response to a separate special interrogatory.
You have pleaded 11 affirmative defenses. Accordingly, under our proposal, your response to Special Interrogatory No. 7, (a)-(c), with respect to each
such affirmative defense would constitute a total of 11 separate special interrogatories.
Please provide supplemental responses to Special Interrogatories Nos. 6 and 7 in view of the foregoing proposal by no later than two weeks from the
date of this letter.

I am not able to understand what is being requested here. Could you explain this component more simply? Thank you.

Response: This section addresses TrustLabs’ Interrogatories nos. 6 and 7. Please see attached requests. For ease of reference, the requests state the
following (capitalized terms below are subject to the definitions in the attached). I have provided explanations of what each interrogatory seeks below,
but it may be more efficient for us to discuss over the phone. Please let me know when in the next week would be a convenient time to speak.

Interrogatory No. 6: Is your response to each Request for Admission served with these interrogatories an unqualified admission? If not, for each
response that is not an unqualified admission: a) state the number of the request; b) state all facts upon which you base your response; c) IDENTIFY all
PERSONS who have knowledge of those facts; and d) describe all DOCUMENTS and tangible things that support your response and IDENTIFY each
PERSON who has each DOCUMENT or thing.

As the foregoing states, this request asks you to provide factual support for each of TrustLabs’ Requests for Admission (attached for reference), to
which you have not provided an unqualified admission. Please provide the information requested in subsections (a)-(d) of Interrogatory No. 6, above.

Interrogatory No. 7: Identify each denial of a material allegation and each special or affirmative defense in your pleadings and for each: (a) state all
facts upon which you base the denial or special or affirmative defense; (b) IDENTIFY all PERSONS who have knowledge of those facts; (c) describe all
DOCUMENTS and tangible things that support your denial or special or affirmative defense and IDENTIFY each PERSON who has each DOCUMENT or
thing.

As the foregoing states, this request asks you to provide factual support for each of your denials of a material allegation or special or affirmative
defenses in this matter. Your denials of TrustLabs’ allegations and special and affirmative defenses are set forth in your answer to TrustLabs complaint,
which I have also attached for your reference.


---




On Mon, Dec 12 2022 at 5:45 PM, Carl Kaplan <ckaplan@svelf com> wrote:
 Dear Mr. An,

 Following up on my below email (and attached correspondence) from December 5, 2022. Please confirm receipt thereof.

 Thank you,

 Carl Kaplan
 SV Employment Law Firm PC
 160 Bovet Road, Suite 401
 San Mateo, CA 94402
 ckaplan@svelf.com
 tel: (650) 265-0222
 fax: (650) 265-0223
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 145 of 149


www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: Carl Kaplan
Sent: Monday, December 5, 2022 12:05 PM
To: 'djan92@gmail.com' <djan92@gmail.com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: TrustLabs, Inc. vs. Daniel Jaiyong An, Case No. 3:21-cv-02606-CRB - meet and confer letter re Plaintiff's discovery responses

Dear Mr. An,

Please see the attached correspondence. As stated therein, your response is requested by no later than Monday, December 19, 2022. I am available
to discuss further in the interim if that would be helpful. Thank you for your attention to this matter.

Sincerely,

Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.
Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 146 of 149




   EXHIBIT G
      Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 147 of 149


From:             Carl Kaplan
To:               jai an
Cc:               Steven Friedlander
Subject:          RE: Activity in Case 3:21-cv-02606-CRB TrustLabs, Inc. v. An Discovery Order
Date:             Tuesday, March 21, 2023 9:14:00 AM
Attachments:      2023.03.21 [Trustlabs-An] Joint Statement Re Discovery Dispute (1).docx
                  image001.png


Dear Mr. An,

Please find attached Plaintiff’s portion of the joint letter brief that the Court has directed us to
submit by Wednesday, 3/22/23. As requested in my below email, please include your portion of the
letter (following the header titled “II. DEFENDANT’S POSITION”) by no later than 4pm Pacific time
tomorrow, 3/22/23, so that we have sufficient time to finalize and file the document. Per Judge
Hixson’s standing order, our joint brief is limited to a total of five pages, so please keep that in mind
when drafting.

Please let me know if you have any questions. As noted below, I remain available to participate in a
telephonic meet and confer session. If you will reconsider your refusal to participate in a call, please
let me know and we can schedule a time to speak.

Best regards,

Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and
privileged information. Any unauthorized review, use, disclosure or distribution is prohibited. If you are
not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: Carl Kaplan
Sent: Friday, March 17, 2023 12:02 PM
To: jai an <djan92@gmail.com>
Cc: Steven Friedlander <sfriedlander@svelf.com>
Subject: FW: Activity in Case 3:21-cv-02606-CRB TrustLabs, Inc. v. An Discovery Order

Dear Mr. An,

Per the below message—which you should have received as well—the Court has directed us to file a
        Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 148 of 149


joint letter brief addressing our discovery dispute by next Wednesday (3/22/23). We will provide our
portion of the brief by early next week, with a placeholder for your portion. Please make sure to
return the letter brief with your portion inserted in by no later than 4pm Pacific Time on March 22,
2023 so that we can ensure a timely filing. If we do not receive your portion by then, we will need to
file separately and will advise the Court that we were unable to collect your portion in a timely
manner.

In the hopes of potentially resolving these matters without Court intervention, I am available to
meet and confer telephonically on Monday (3/20/23). I assume from your prior correspondence that
you are unwilling to do so, but please let me know if otherwise and we can set up a time to discuss.

Best,

Carl Kaplan
SV Employment Law Firm PC
160 Bovet Road, Suite 401
San Mateo, CA 94402
ckaplan@svelf.com
tel: (650) 265-0222
fax: (650) 265-0223
www.svelf.com




An Entrepreneurial Employment Law Firm

This email message is for the sole use of the intended recipient(s) and may contain confidential and
privileged information. Any unauthorized review, use, disclosure or distribution is prohibited. If you are
not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message.


From: ECF-CAND@cand.uscourts.gov <ECF-CAND@cand.uscourts.gov>
Sent: Wednesday, March 15, 2023 5:11 PM
To: efiling@cand.uscourts.gov
Subject: Activity in Case 3:21-cv-02606-CRB TrustLabs, Inc. v. An Discovery Order


CAUTION: EXTERNAL EMAIL


This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
RESPOND to this e-mail because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** There is no charge for viewing opinions.

                                           U.S. District Court

                                      California Northern District

Notice of Electronic Filing
       Case 3:21-cv-02606-CRB Document 61 Filed 03/22/23 Page 149 of 149



The following transaction was entered on 3/15/2023 at 5:10 PM and filed on 3/15/2023
Case Name:           TrustLabs, Inc. v. An
Case Number:         3:21-cv-02606-CRB
Filer:
Document Number: 60

Docket Text:
Discovery Order. Parties to file joint discovery letter brief no later than 3/22/23.
(tshlc2, COURT STAFF) (Filed on 3/15/2023)

Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic
                                                       Filing (NEF)


3:21-cv-02606-CRB Notice has been electronically mailed to:

Carl Joseph Kaplan         ckaplan@svelf.com, jbaker@svelf.com, talioto@svelf.com

Daniel Jaiyong An         djan92@gmail.com

Steven L. Friedlander         sfriedlander@svelf.com, jbaker@svelf.com, jbllanca@svelf.com,
talioto@svelf.com

3:21-cv-02606-CRB Please see Local Rule 5-5; Notice has NOT been electronically mailed to:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:C:\fakepath\21-cv-02606-crb-
discovery_order_march_15.638145216702421588.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=3/15/2023] [FileNumber=20048249-0]
[967295749397fdd0444859b1894c715b69c4758d35bb976b5b2e3b4edd0106c2d14c
1e9810b888be5b992d039e6fbd86c1143f74db7bd3396d2c01d12aefabcd]]
